Case: 21-1676   Document: 00117853883       Page: 1      Date Filed: 03/17/2022     Entry ID: 6483498




                                              NO. 21-1676




                    United States Court of Appeals
                                   For the First Circuit

                               Karen Morales Posada, Williana Rocha,
                       Amanda Sarmento Ferreira Guimaraes, and Sara Barrientos

                                         Plaintiffs-Appellees,

                                                  v.

                                         Cultural Care, Inc.,

                                        Defendant-Appellant.

                            On Appeal from the United States District Court
                                  for the District of Massachusetts
                                 Hon. Indira Talwani, District Judge
                                    Case No. 1:20-cv-11862-IT


                          BRIEF FOR PLAINTIFFS-APPELLEES



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Case: 21-1676       Document: 00117853883                  Page: 2         Date Filed: 03/17/2022                Entry ID: 6483498




                                              TABLE OF CONTENTS
                                                                                                                    Page
      INTRODUCTION ..................................................................................................... 1
      JURISDICTIONAL STATEMENT: THIS COURT LACKS
           JURISDICTION TO CONSIDER THIS APPEAL......................................... 4

      STATEMENT OF THE CASE .................................................................................. 4
               A.       PROCEDURAL BACKGROUND ....................................................... 4
               B.       FACTUAL ALLEGATIONS RELEVANT TO THIS APPEAL ......... 5
      SUMMARY OF THE ARGUMENT ...................................................................... 12

      ARGUMENT ........................................................................................................... 14

               C.       THIS COURT LACKS JURISDICTION TO HEAR THIS
                        APPEAL .............................................................................................. 14
                        1.       This Court Does Not Have Collateral Order Doctrine
                                 Jurisdiction to Consider Cultural Care’s Derivative
                                 Sovereign Immunity Argument ................................................ 14
                        2.       There Is No Pendent Appellate Jurisdiction to Consider
                                 the Remaining Issues ................................................................ 19
               D.       CULTURAL CARE IS NOT ENTITLED TO DERIVATIVE
                        SOVEREIGN IMMUNITY WITH RESPECT TO THE STATE
                        LAW CLAIMS .................................................................................... 25
                        1.       Because It Is Not a Contractor or Agent of the Federal
                                 Government, Cultural Care is Not Protected by
                                 Derivative Sovereign Immunity................................................ 25
                        2.       Cultural Care Cannot Establish as a Matter of Law that It
                                 Acted Within Authority Validly Conferred by the Federal
                                 Government ............................................................................... 30
               E.       PLAINTIFFS’ STATE LAW CLAIMS ARE NOT
                        PREEMPTED ...................................................................................... 34
                        1.       The Court Should Consider Preemption of the State
                                 Consumer Claims and the State Minimum Wage Claims
                                 Separately .................................................................................. 34
                        2.       Congress Did Not Authorize the State Department to
                                 Preempt State Minimum Wage Law ......................................... 35
                                                                  i
Case: 21-1676        Document: 00117853883                     Page: 3          Date Filed: 03/17/2022                  Entry ID: 6483498




                          3.        The Au Pair Rules Do Not Preempt State Minimum
                                    Wage Law ................................................................................. 39
                F.        THE COMPLAINT PLAUSIBLY PLEADS THAT
                          CULTURAL CARE IS A FLSA EMPLOYER .................................. 50
      CONCLUSION ........................................................................................................ 53


                                               TABLE OF AUTHORITIES
                                           Cases
      Al Shimari v. CACI Premier Tech., Inc., 657 F. Supp. 2d 700 (E.D. Va. 2009) ....24
      Al Shimari v. CACI Premier Tech., Inc., 775 F. App’x 758 (4th Cir. 2019) ...........14
      Al-Quraishi v. L-3 Servs., Inc., 657 F.3d 201 (4th Cir. 2011) .................................20
      Arizona v. United States, 567 U.S. 387 (2012) ................................................. 38, 40
      Baystate Alternative Staffing, Inc. v. Herman, 163 F.3d 668 (1st Cir. 1998) .........49
      Beltran v. Interexchange, Inc., No. 14-CV-03074-CMA-KMT, 2016 WL 695967
        (D. Colo. Feb. 22, 2016).......................................................................... 30, 38, 48
      Betancourt v. Cultural Care, Inc., Case No. 2081CV0056 (Mass. Sup. Ct., Nov.
        16, 2020) ...............................................................................................................38
      Braintree Lab’ys, Inc. v. Citigroup Glob. Markets Inc., 622 F.3d 36 (1st Cir. 2010)
        ..............................................................................................................................18
      Brown v. Fort Benning Fam. Communities LLC, 108 F. Supp. 3d 1367 (M.D. Ga.
        2015) .....................................................................................................................29
      Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341 (2001)....................... 44, 47
      Butters v. Vance Int’l, Inc., 225 F.3d 462 (4th Cir. 2000) .......................................23
      Campbell-Ewald Co. v. Gomez, 577 U.S. 153 (2016) ..................................... passim
      Capron v. Off. of Att'y Gen. of Massachusetts, 944 F.3d 9 (1st Cir. 2019) ..... passim
      City of New York v. F.C.C., 486 U.S. 57 (1988)......................................................33
      DeCanas v. Bica, 424 U.S. 351 (1976) ....................................................................39
      Dibble v. Fenimore, 339 F.3d 120 (2d Cir. 2003) ....................................................15
      Espinal-Dominguez v. Com. of Puerto Rico, 352 F.3d 490 (1st Cir. 2003) ............13
      Evans v. Mayer Tree Serv., Inc., 162 N.E.3d 70 (Mass. Ct. App. 2020).................26

                                                                     ii
Case: 21-1676        Document: 00117853883                    Page: 4          Date Filed: 03/17/2022                Entry ID: 6483498



      Evans v. United States, 876 F.3d 375 (1st Cir. 2017) ..............................................26
      Faiella v. Fed. Nat'l Mortg. Ass'n, 928 F.3d 141 (1st Cir. 2019) ............................29
      Fort Halifax Packing Co., Inc. v. Coyne, 482 U.S. 1 (1987)...................................37
      Hilbert v. Aeroquip, Inc., 486 F. Supp. 2d 135 (D. Mass. 2007) ............................27
      Hillsborough Cnty, Fla v. Automated Med. Labs., Inc., 471 U.S. 707 (1985) ........41
      Houston Cmty. Hosp. v. Blue Cross & Blue Shield of Tex., Inc., 481 F.3d 265 (5th
       Cir. 2007)..............................................................................................................14
      In re KBR, Inc., Burn Pit Litig., 744 F.3d 326 (4th Cir. 2014)................................30
      In re Sealed Case No. 99-3091, 192 F.3d 995 (D.C. Cir. 1999) .............................13
      In re U.S. Off. of Pers. Mgmt. Data Sec. Breach Litig., 928 F.3d 42 (D.C. Cir.
        2019) .....................................................................................................................24
      In re World Trade Center Disaster Site Litigation, 521 F.3d 169 (2d Cir. 2008)......16
      Ivanov v. Sunset Pools Management, Inc., 567 F.Supp.2d 189 (D.D.C. 2008) ......50
      Jackson v. Brigle, 17 F.3d 280 (9th Cir. 1994) .......................................................15
      Knitter v. Corvias Mil. Living, LLC, 758 F.3d 1214 (10th Cir. 2014) ....................51
      Kudlacz v. Cultural Care, Inc., Case No. CGC-20-584567 (Cal. Sup. Ct. Sept. 3,
        2020) ........................................................................................................ 30, 38, 47
      La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355 (1986) ............................................33
      Limone v. Condon, 372 F.3d 39 (1st Cir. 2004) ......................................................19
      Lopez v. Massachusetts, 588 F.3d 69 (1st Cir. 2009) ....................................... 18, 21
      Lutz v. Sec'y of Air Force, 944 F.2d 1477 (9th Cir. 1991) ......................................15
      Maccabees Mut. Life Ins. Co. v. Perez-Rosado, 641 F.2d 45 (1st Cir. 1981) .........42
      Martin v. Halliburton, 618 F.3d 476 (5th Cir. 2010) ...............................................14
      Mathis v. Henderson, 243 F.3d 446 (8th Cir. 2001) ................................................19
      McMahon v. Presidential Airways, Inc., 502 F.3d (11th Cir. 2007) ................ 15, 20
      Medtronic, Inc. v. Lohr, 518 U.S. 470 (1996) .........................................................37
      Morris-Hayes v. Bd. of Educ. of Chester Union Free Sch. Dist., 423 F.3d 153 (2d
       Cir. 2005)..............................................................................................................20
      New York State Dep't of Soc. Servs. v. Dublino, 413 U.S. 405 (1973) ....................39

                                                                   iii
Case: 21-1676        Document: 00117853883                    Page: 5          Date Filed: 03/17/2022                Entry ID: 6483498



      Newton v. Lee, 677 F.3d 1017 (10th Cir. 2012) .......................................................15
      Nieves-Marquez v. Puerto Rico, 353 F.3d 108 (1st Cir. 2003) ...............................18
      Oneok, Inc. v. Learjet, Inc., 575 U.S. 373 (2015)....................................................43
      Padron v. GreatAuPair, LLC, Case No. CGC-20-587057 (Cal. Sup. Ct. Feb. 16,
        2021) .....................................................................................................................38
      Pullman Const. Indus., Inc. v. United States, 23 F.3d 1166 (7th Cir. 1994) ...........13
      Regan v. Starcraft Marine, LLC, 524 F.3d 627 (5th Cir. 2008) .............................15
      State of Alaska v. United States, 64 F.3d 1352 (9th Cir. 1995) ...............................13
      Swint v. Chambers County Commission, 514 U.S. 35 (1995) .................................18
      Taylor Energy Co., L.L.C. v. Luttrell, 3 F.4th 172 (5th Cir. 2021) .........................24
      United States v. Flemmi, 225 F.3d 78 (1st Cir. 2000) ...................................... 23, 27
      United States v. Marino, 200 F.3d 6 (1st Cir. 1999) ...............................................18
      United Transp. Union Loc. 1745 v. City of Albuquerque, 178 F.3d 1109 (10th Cir.
       1999) .....................................................................................................................22
      Villanueva v. United States, 662 F.3d 124 (1st Cir. 2011) ......................................13
      Will v. Hallock, 546 U.S. 345 (2006) .......................................................................16
      Wyeth v. Levine, 555 U.S. 555 (2009) .............................................................. 34, 37
      Yearsley v. W.A. Ross Const. Co., 309 U.S. 18 (1940) ............................... 23, 24, 27
      Zych v. Unidentified Wrecked & Abandoned Vessel, Believed to be the Seabird, 19
        F.3d 1136 (7th Cir. 1994) .....................................................................................19

                                                   Statutes
      21 U.S.C. § 360bbb-3...............................................................................................27
      22 U.S.C. § 2451 ......................................................................................................45
      29 U.S.C. § 201, et seq........................................................................... 2, 21, 32, 42
      42 U.S.C. § 5148 ......................................................................................................16
      8 U.S.C. § 1101 ........................................................................................................33
      Pub. L. No. 104-72, 109 Stat. 776 (1995) ......................................................... 33, 36
      Pub. L. No. 105-48, 111 Stat. 1165 (1997) ....................................................... 33, 36


                                                                    iv
Case: 21-1676        Document: 00117853883                    Page: 6          Date Filed: 03/17/2022                 Entry ID: 6483498




                                      Other Authorities
      Brief for the United States as Amicus Curiae Supporting Petitioners, Al Shimari v.
        CACI Premier Tech., Inc., No. 19-648 (U.S. AUG. 26, 2020) ..................... 12, 14
      H.R. 2767, To Extend Au Pair Programs: Markup Before the Subcomm. On Int’l
        Operations and Human Rights of the Comm. On Int’l Relations H.R., 104 Cong.
        (1995) ...................................................................................................................36
      Restatement (Third) Of Agency § 1.01 (2006) ........................................................26

                                                    Regulations
      10 C.F.R. § 26.53 .....................................................................................................27
      22 C.F.R. § 62.1 .........................................................................................................6
      22 C.F.R. § 62.10 ............................................................................................ 7, 8, 46
      22 C.F.R. § 62.11 .......................................................................................... 7, 28, 44
      22 C.F.R. § 62.13 .......................................................................................................9
      22 C.F.R. § 62.2 ............................................................................................ 6, 27, 31
      22 C.F.R. § 62.3 .......................................................................................................31
      22 C.F.R. § 62.31 ............................................................................................. passim
      22 C.F.R. § 62.40 .....................................................................................................49
      22 C.F.R. § 62.9 ............................................................................................... passim
      29 C.F.R. § 62.14 .....................................................................................................50
      32 C.F.R. § 761.8 .....................................................................................................27
      Exchange Visitor Program, 60 FR 8547-02, 60 Fed. Reg. 8547-53 (Feb. 15, 1995)
        ....................................................................................................................... 34, 36
                        STATEMENT IN SUPPORT OF ORAL ARGUMENT

               Oral argument is appropriate given the number and complexity of issues.




                                                                     v
Case: 21-1676   Document: 00117853883          Page: 7   Date Filed: 03/17/2022   Entry ID: 6483498




                                       INTRODUCTION

            Cultural Care asserts that it is not bound by state consumer and minimum

      wage protections covering thousands of childcare workers it brings into the United

      States each year on J-1 au pair visas.

            This is not Cultural Care’s first attempt to avoid state minimum wage laws.

      Courts around the country, including this Court, have repeatedly and unanimously

      concluded that childcare workers on J-1 au pair visas are not exempted from state

      minimum wage protections because of the visa they work under. See generally

      Capron v. Off. of Att'y Gen. of Massachusetts, 944 F.3d 9 (1st Cir. 2019); see also

      infra at Appellant’s Add. at 20 (District Court Order citing cases). And, while no

      court has addressed the application of state consumer protection claims like those

      alleged here to Cultural Care’s conduct, Plaintiffs’ consumer protection claims are

      even less likely foreclosed by the doctrines of derivative sovereign immunity and

      preemption than their state minimum wage claims.

            This appeal, however, reflects Cultural Care’s newest and most novel tack to

      evade state law. It argues that even if state minimum wage laws apply to childcare

      workers on J-1 au pair visas, Cultural Care is immune from those laws under the

      doctrine of derivative sovereign immunity. In denying Cultural Care’s motion to

      dismiss, the District Court concluded that Cultural Care is just like any other private

      entity operating in a heavily regulated field; the federal government’s regulations


                                                  1
Case: 21-1676   Document: 00117853883       Page: 8    Date Filed: 03/17/2022     Entry ID: 6483498




      cannot and do not cloak Cultural Care in the federal government’s immunity from

      liability under state law. See Appellant’s Add. at 12-13. The District Court also

      rejected Cultural Care’s argument that its obligations under state minimum wage

      laws are preempted by federal au pair regulations. Id. at 13-18. Finally, the District

      Court concluded that Plaintiffs had adequately pled that Cultural Care is an employer

      under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., (“FLSA”), id. at 18-

      20.

            Before Plaintiffs were able to obtain discovery and even while hundreds of

      childcare workers were joining the case as FLSA opt-in plaintiffs under 29 U.S.C. §

      216(b), Cultural Care filed an interlocutory appeal with this Court, effecting a stay

      of all litigation below.

            As an initial matter, this Court lacks jurisdiction to hear this appeal. Cultural

      Care latches onto the denial of derivative sovereign immunity to attempt an

      immediate appeal on that issue under the collateral order doctrine. It then attempts

      to bootstrap jurisdiction over its preemption and FLSA employer arguments through

      pendent appellate jurisdiction. This attempt to short circuit the final judgment rule

      and get another bite at the apple on the motion to dismiss through an interlocutory

      appeal conflicts with both the collateral order doctrine and this Court’s case law

      regarding its pendent appellate jurisdiction.

            If the Court were to conclude that it has jurisdiction, Cultural Care’s


                                                2
Case: 21-1676   Document: 00117853883        Page: 9     Date Filed: 03/17/2022     Entry ID: 6483498




      arguments on the merits also fail. Cultural Care is a private corporation profiting off

      the labor of foreign childcare workers. It has no contract with the federal

      government, and the government’s regulations make clear both that Cultural Care

      does not act as an agent of the State Department and that Cultural Care is bound to

      follow state law. Furthermore, Plaintiffs plead that Cultural Care exercises

      substantially more control over J-1 visa au pairs than federal regulations require.

      Cultural Care can benefit from the federal government’s sovereign immunity to

      avoid liability no more than any other private entity performing a function that the

      government could (in theory) perform itself, but which it instead has left to the

      private market.

            If the Court concludes that it has jurisdiction not only over Cultural Care’s

      derivative sovereign immunity argument but also over its preemption and FLSA

      employer arguments, it should affirm the District Court’s order on those issues too.

            Respecting preemption, this Court’s opinion in Capron is dispositive. There

      is no basis in “the text, . . . [the] regulatory history, [or] past practice,” Capron, 944

      F.3d at 44, to conclude the State Department intended not to preempt state minimum

      wage requirements as applicable to host families but did intend to preempt those

      laws as applicable to sponsor agencies.

            With respect to Cultural Care’s FLSA employer argument, Cultural Care

      attempts the same tired argument that failed below and in other state and federal trial


                                                  3
Case: 21-1676   Document: 00117853883        Page: 10     Date Filed: 03/17/2022    Entry ID: 6483498




       courts: that mere compliance with State Department regulations cannot support a

       finding of FLSA employer status. Plaintiffs alleged, however, and the District Court

       recognized, that Cultural Care does much more than simply follow the regulations.

       Appellant’s Add. at 18-20 (citing concurring state and federal trial courts). It creates

       contractual rights and obligations that control au pairs in ways nowhere

       contemplated by the au pair regulations.

       JURISDICTIONAL STATEMENT: THIS COURT LACKS JURISDICTION
                       TO CONSIDER THIS APPEAL
             This Court lacks collateral order doctrine jurisdiction to consider Cultural

       Care’s claim of derivative sovereign immunity and lacks pendent appellate

       jurisdiction to consider Cultural Care’s arguments regarding preemption and Fair

       Labor Standards Act employer status.

                                 STATEMENT OF THE CASE

       A.    Procedural Background
             On February 19, 2021, Plaintiffs filed their Second Amended Class Action

       Complaint against Appellant Cultural Care for its failure to pay minimum and

       overtime wages in violation of the Fair Labor Standards Act, its violation of relevant

       stage wage and hours laws, and its violations of consumer protection laws based on

       its misrepresentations to host families and childcare workers regarding host families’

       obligations to follow state minimum wage laws as recognized by this Court in

       Capron. App. at 15-56 (“Compl.”). On March 22, 2021, Cultural Care filed a Motion

                                                  4
Case: 21-1676   Document: 00117853883        Page: 11     Date Filed: 03/17/2022    Entry ID: 6483498




       to Dismiss the Second Amended Complaint. App. at 7.

             On August 13, 2021, the District Court issued an Order, granting in part and

       denying in part Defendant’s Motion. Appellant’s Add. at 1-22 (“Order”). As relevant

       here, the District Court concluded that (1) Cultural Care could not assert derivative

       sovereign immunity to avoid liability under state minimum wage laws, Order at 12-

       13; (2) Plaintiffs’ state law claims against Cultural Care were not preempted, Order

       at 13-18; and (3) Plaintiffs plausibly pled that Cultural Care was their employer

       under the FLSA, Order at 18-20.

             Cultural Care filed a Notice of Appeal with respect to the Order and in

       subsequent briefing has asserted that this Court has appellate jurisdiction over this

       interlocutory appeal based on the collateral order doctrine and pendent appellate

       jurisdiction. See Appellant’s Br. at 4.

       B.    Factual Allegations Relevant to This Appeal
             Cultural Care, a Massachusetts corporation, operates throughout the United

       States as an employer of in-home childcare workers who work in the United States

       on J-1 au pair visas. Compl. ¶¶ 2, 3, 12, 13. Plaintiffs Karen Morales Posada,

       Amanda Sarmento Ferreira Guimaraes, Williana Rocha, and Sara Barrientos, along

       with those similarly situated, worked for Cultural Care in California, New York,

       New Jersey, and Illinois. Id. ¶¶ 7-10. Cultural Care employs at least 10% of all

       childcare workers working on J-1 au pair visas in these states. Id. ¶13. Cultural Care’s


                                                  5
Case: 21-1676    Document: 00117853883        Page: 12     Date Filed: 03/17/2022     Entry ID: 6483498




       childcare workers typically work for at least 40 hours per week for 50 weeks per

       year. Id. ¶14. Cultural Care’s business model is premised on attracting host families

       who pay thousands of dollars in fees in exchange for access to the childcare workers

       vetted, selected, trained, and supervised in part by Cultural Care. Id. ¶ 3. Cultural

       Care receives approximately $9,570.00 in fees from host families for each childcare

       worker it matches with a host family. Id. ¶ 17. It entices host families to choose

       Cultural Care as their agency with the promise of affordable childcare—instructing

       them to pay the au pairs a weekly “stipend” of only $195.75. Id. ¶ 17. In doing so it

       violates state and federal wage laws and deceives families in violation of consumer

       protection laws. Id. ¶¶ 16-17.

             The State Department, by regulation, created the Exchange Visitor Program

       to promote educational and cultural exchanges between the people of the United

       States and of other nations. 22 C.F.R. § 62.1(a). The State Department does not carry

       out Exchange Visitor Programs itself, but rather “facilities activities. . .by designating

       public and private entities to act as sponsors of the Exchange Visitor Program.”

       22 C.F.R. § 62.1(b). A sponsor is a legal entity designated to “conduct an exchange

       visitor program.” 22 C.F.R. § 62.2. A “designation” is a “written authorization issued

       by the Department of State to an exchange visitor program applicant to conduct an

       exchange visitor program as a sponsor.” Id. Nothing in that authorization immunizes

       Cultural Care from state laws. In fact, as a sponsor, Cultural Care “must remain in


                                                   6
Case: 21-1676   Document: 00117853883       Page: 13     Date Filed: 03/17/2022    Entry ID: 6483498




       compliance with all local, state, and federal laws, and professional requirements

       necessary to carry out the activities for which it is designated” 22 C.F.R. § 62.9. For

       exchange programs like the au pair program, sponsor agencies must designate

       Responsible Officers with a “detailed knowledge of federal, state, and local laws

       pertaining to employment . . ..” 22 C.F.R. § 62.11

             Cultural Care’s conduct relating to the selection, training, job duties, and

       termination of au pairs go far beyond the minimum obligations required by State

       Department regulations.

             Selection. State Department regulations governing all exchange visitor

       programs require that sponsors “establish and utilize a method to screen and select

       prospective exchange visitors to ensure that they are eligible for program

       participation.” 22 C.F.R. § 62.10(a). State Department regulations specific to au

       pairs establish age, English language, education, physical, personality and

       background investigation requirements. See 22 C.F.R. § 62.31(d). Cultural Care

       exercises much broader discretion in its selection process—retaining the right to

       reject an au pair application for any reason it deems advisable, not solely for failure

       to meet State Department eligibility requirements. Compl. ¶ 25.

             Similarly, State Department regulations require that host families are U.S.

       Citizens, fluent in English, able to pass a background investigation, able to bear the

       financial cost, and able to provide a suitable private bedroom. See 22 C.F.R. §§ 62.31


                                                 7
Case: 21-1676   Document: 00117853883       Page: 14     Date Filed: 03/17/2022    Entry ID: 6483498




       (e), (h). Cultural does much more than that. It “retains the exclusive right to

       determine that the host family’s environment is not suitable and to terminate the host

       family from the program.” Compl. ¶ 24(c). Cultural Care further requires the host

       family inform it of any “change in the composition of the family” despite no

       regulatory requirement to do so. Id. ¶ 24(c).

             Training. State Department regulations governing all exchange programs

       require orientation on life and customs in the U.S., local community resources, and

       a description of the exchange visitor program. 22 C.F.R. § 62.10(c). The au pair

       specific regulations require sponsors provide “eight hours of child safety instruction

       . . . [and] not less than twenty-four hours of child development instruction.” 22

       C.F.R. § 62.31(g). The regulations do not dictate the specific content of the training;

       that is left to the sponsor agency’s discretion. See id. Cultural Care requires its au

       pairs to attend four days of in-person training in Tarrytown, New York. Compl. ¶

       29. The training is uncompensated. Id. at 30.

             Duties. State Department regulations state that “all au pair participants

       provide child care services.” 22 C.F.R. § 62.31(a). The regulations governing all

       exchange programs require sponsors “ensure that the activities in which exchange

       visitors are engaged are consistent with the category and activity listed on their

       Forms DS–2019.” 22 C.F.R. § 61.10(d)(1). The regulations also impose certain

       placement restrictions, such not allowing an au pair to be placed with a family having


                                                 8
Case: 21-1676    Document: 00117853883       Page: 15    Date Filed: 03/17/2022   Entry ID: 6483498




       a child “aged less than three months unless a parent or other responsible adult is

       present in the home” or “with a host family having children under the age of two,

       unless the au pair has at least 200 hours of documented infant childcare experience.”

       22 C.F.R. 62.31(e).

             Cultural Care implements these restrictions. Compl. 24 ¶ (a). But Cultural

       Care exerts further control over the working conditions of au pairs and

       communicates with them regarding the performance of their job duties. Id. ¶¶ 22,

       24. Cultural Care permits au pairs to perform “light housework relating to childcare

       services” but prohibits them from performing “general housekeeping or heavy

       chores.” Id. ¶ 24(f).

             Right to Terminate. State Department regulations contain certain reporting

       requirements, but do not give sponsors the right to terminate an au pair. The

       regulations pertaining to all exchange visitor programs require sponsors “to

       promptly report in SEVIS the involuntary termination of an exchange visitor’s

       program.” 22 C.F.R. § 62.13(a)(5). “[S]uch notification in SEVIS ends a sponsor’s

       programmatic obligations to the exchange visitor.” Id. Regulations also contain

       certain reporting requirements, including reporting any “unusual or serious

       situations or incidents involving either the au pair or host family,” any incidents

       involving a crime of moral turpitude or violence, and the substance and resolution

       of any complaints by host families or au pairs. Id. § 62.31 (l), (m).


                                                 9
Case: 21-1676    Document: 00117853883        Page: 16     Date Filed: 03/17/2022      Entry ID: 6483498




              Beyond these reporting requirements, Plaintiffs plead that Cultural Care

       “vests [itself] with the right to determine, in its sole judgment, if the au pair is unable

       to perform her duties for an extended period of time—in which case Cultural Care

       will send the au pair home and end her assignment.” Compl. ¶ 24(j). Plaintiffs further

       plead that Cultural Care “retains the right to end any au pair’s employment if the au

       pair engages in conduct that Cultural Care believes is not in the best interest of the

       program.” Id. at 26. Cultural Care’s control over termination therefore extends

       beyond the mere reporting requirements of the regulations.

              The regulations contemplate the need for rematches, requiring sponsors to

       provide “a summation of all situations which resulted in the placement of au pair

       participant with more than one host family.” 22 C.F.R. § 62.31(m)(3). However,

       there is no regulation governing the process for an au pair to rematch with a different

       host family. Rather, these obligations are contractual in nature. As Plaintiffs pled,

       Cultural Care “maintains the right to . . . reassign au pairs” and “to mediate disputes

       between au pairs and host families.” Compl. ¶ 24.

              Wages. The regulations require that au pairs are “compensated at a weekly

       rate based upon 45 hours of child care services per week and paid in conformance

       with the requirements of the Fair Labor Standards Act.” 22 C.F.R. § 62.31(j)(1). The

       regulations do not, however, set a required amount for the stipend, nor do they set

       an upper limit for the stipend. See id. Cultural Care instructs host families to pay au


                                                   10
Case: 21-1676    Document: 00117853883        Page: 17     Date Filed: 03/17/2022   Entry ID: 6483498




       pairs a minimum stipend of $195.75 per week. Compl. ¶ 17. It also tells au pairs that

       they will receive a $195.75 weekly stipend. Id. ¶ 23. Cultural Care advises host

       families that there is different pricing in Massachusetts, instructing host families in

       Massachusetts to pay minimum wage and overtime consistent with Massachusetts’

       state law. Id. ¶ 20. Cultural Care’s website explains that host families in

       Massachusetts must pay “the MA minimum wage (12.75/hour in 2020) times the

       number of hours the au pair is on duty for the week up to 40.” Id. It further explains

       that host families in Massachusetts must pay overtime premiums, stating “[i]f the au

       pair works between 41-45 hours during a week, you must pay time-and-a half for

       the hours worked over the 40 hours limit.” Id. The undisputed record shows that it

       was Cultural Care, not the State Department, that instructed host families to pay a

       weekly stipend of $195.75.

             Cultural Care’s specific disclosures regarding Massachusetts state law

       highlight its deceptive trade practices. Cultural Care deceives its childcare workers

       and host families by claiming families may pay their J-1 visa au pairs $195.75 per

       week for up to 45 hours of work in New York, California, New Jersey, and Illinois.

       Compl. ¶ 16. Cultural Care’s pricing for these states says nothing about the

       applicability of state law. Id. ¶ 21. Instead, the website states:




                                                  11
Case: 21-1676   Document: 00117853883       Page: 18     Date Filed: 03/17/2022    Entry ID: 6483498




       Id. Juxtaposed against Cultural Care’s specific instructions about the applicability of

       Massachusetts state law, id. ¶ 20, this instruction deceptively suggests that the state

       minimum wage laws of New York, California, New Jersey, and Illinois are

       inapplicable to au pairs.

                              SUMMARY OF THE ARGUMENT

             First, this Court does not have jurisdiction to hear this interlocutory appeal.

       The Court should side with all the appellate courts to have addressed the issue

       directly and with the United States Government’s stated position and conclude that

       there is no collateral order doctrine jurisdiction over appeals from denials of

       derivative sovereign immunity. To the extent that Cultural Care enjoys derivative

       sovereign immunity from some of the claims raised in this case, that immunity is a

       defense to liability, it is not an immunity from suit. Cultural Care’s interests can

       adequately be protected through appeal after final judgment.

             Second, even if the Court has jurisdiction to hear Cultural Care’s derivative

       sovereign immunity arguments, it does not have jurisdiction to decide Cultural

       Care’s preemption and FLSA employer arguments. Pendent jurisdiction is rarely

       appropriate. It is inappropriate in this case where neither Cultural Care’s preemption

       nor FLSA employer arguments meaningfully overlap with its derivative sovereign

       immunity argument. Cultural Care does not even assert derivative sovereign

       immunity against Plaintiffs’ FLSA claims.


                                                 12
Case: 21-1676   Document: 00117853883        Page: 19     Date Filed: 03/17/2022    Entry ID: 6483498




             Third, if the Court were to decide that there is collateral order jurisdiction to

       hear Cultural Care’s derivative sovereign immunity argument, it should affirm the

       District Court’s decision on that matter. Cultural Care is not able to point to a single

       case where a defendant was able to assert derivative sovereign immunity without

       having a contractual arrangement of some form with the federal government. That

       makes sense. It is doubtful that the federal government could ever clearly manifest

       its assent to an agency relationship without a contract between it and its agent. Even

       if an agency relationship sufficient to establish derivative sovereign immunity could

       exist in the absence of a contractual relationship, it does not exist here. The State

       Department regulations say merely that it may “designat[e]” sponsors. 22 C.F.R. §

       62.2. Those same regulations also prohibit sponsors from representing that they “are

       endorsed, sponsored, or supported” by the United States Government. Id. §

       62.9(d)(5).

             Fourth, even if Cultural Care could in theory obtain derivative sovereign

       immunity via the au pair regulations, this Court should at most remand to the District

       Court for further factual development on this issue. Cultural Care cannot establish

       as a matter of law at this stage that it did not exceed the authority purportedly

       conferred on it by the federal government.

             Fifth, if the Court reaches Cultural Care’s preemption arguments, it should

       affirm the District Court’s decision on that issue too. Cultural Care makes no


                                                 13
Case: 21-1676     Document: 00117853883     Page: 20     Date Filed: 03/17/2022    Entry ID: 6483498




       plausible argument that Plaintiffs’ consumer protection claims are preempted when

       those claims turn on Cultural Care’s alleged misrepresentations regarding host

       families’ responsibility to pay minimum wage pursuant to this Court’s decision in

       Capron. Respecting Plaintiffs’ wage and hour claims, there is no suggestion in

       Congress’s delegation to the State Department that Congress conferred on the State

       Department the authority to preempt state minimum wage laws. In fact, explicit

       legislative history suggests Congress never intended the State Department to have

       that power. To the extent the State Department has the authority to preempt state

       minimum wage laws, there is no indication that it intended to preempt sponsors’

       minimum wage obligations even though, as this Court held in Capron, it did not

       have such an intention with respect to host families’ obligations.

             Sixth, if it reaches the issue, the Court should also affirm the District Court’s

       conclusion that Plaintiffs plausibly pled Cultural Care was an employer under the

       FLSA. Plaintiffs plead that Cultural Care exercises substantially more control over

       au pairs than required by au pair regulations.

                                          ARGUMENT

       C.    This Court Lacks Jurisdiction to Hear This Appeal

             1.     This Court Does Not Have Collateral Order Doctrine Jurisdiction to
                    Consider Cultural Care’s Derivative Sovereign Immunity Argument

             The United States Government agrees with Plaintiffs that there is no collateral

       order doctrine jurisdiction for district court denials of derivative sovereign immunity

                                                 14
Case: 21-1676    Document: 00117853883      Page: 21     Date Filed: 03/17/2022    Entry ID: 6483498




       because derivative sovereign immunity is a defense to liability, not immunity from

       suit. See Brief for the United States as Amicus Curiae Supporting Petitioners, Al

       Shimari v. CACI Premier Tech., Inc., No. 19-648 (U.S. AUG. 26, 2020) (“DOJ

       Amicus Br.”).1 The United States’ position is consistent with First Circuit law: A

       defense to liability is not a shield to judicial process, and denials of such defenses

       may not be appealed on an interlocutory basis under the collateral order doctrine.

       See Espinal-Dominguez v. Com. of Puerto Rico, 352 F.3d 490, 497 (1st Cir. 2003).

             Cultural Care argues that its purported derivative sovereign immunity

       immunizes it from suit entirely. This is incorrect. Even if the federal government’s

       sovereign immunity is an immunity from suit and not merely a defense to liability,2


             1
                In response to a certiorari petition filed by the defendants in Al Shimari v.
       CACI Premier Tech., Inc., the United States Supreme Court invited the United States
       government to submit an amicus brief on whether a denial of derivative sovereign
       immunity is subject to immediate appeal under the collateral order doctrine. 775 F.
       App’x 758, 759–60 (4th Cir. 2019), cert. denied, No. 19-648, 2021 WL 2637838
       (U.S. June 28, 2021). The Supreme Court subsequently denied certiorari. See id.
       Plaintiffs include portions of the amicus brief in their addendum, see Appellees’
       Add. at 1-13, and the complete amicus brief is available here:
       https://www.supremecourt.gov/DocketPDF/19/19-
       648/151310/20200826130104385_CACI%20v%20Al-Shimari.pdf.
             2
               Compare State of Alaska v. United States, 64 F.3d 1352, 1355 (9th Cir.
       1995), and Pullman Const. Indus., Inc. v. United States, 23 F.3d 1166, 1169 (7th
       Cir. 1994), with In re Sealed Case No. 99-3091, 192 F.3d 995, 1000 (D.C. Cir. 1999).
       While the First Circuit has described federal sovereign immunity as “immunity from
       suit,” Villanueva v. United States, 662 F.3d 124, 126 (1st Cir. 2011), it has not
       analyzed the issue in the context of addressing this Court’s appellate jurisdiction.
       For the reasons described here, this Court need not resolve the issue in order to
       conclude that it does not have appellate jurisdiction over the District Court’s denial

                                                15
Case: 21-1676    Document: 00117853883       Page: 22     Date Filed: 03/17/2022    Entry ID: 6483498




       the derivative immunity of federal contractors is distinct and substantially narrower

       than the federal sovereign immunity. Campbell-Ewald Co. v. Gomez, 577 U.S. 153,

       166 (2016) (There is “no authority for the notion that private persons performing

       Government work acquire the Government's embracive [sovereign] immunity.”).

       Derivative sovereign immunity flows from the authority the federal government may

       “delegate to its agents. . . to take certain actions that would be unlawful if committed

       by others.” Appellees’ Add. at 11 (DOJ Amicus at Br.). The defense does not apply,

       however, when the defendant acts outside of the scope of its delegated authority.

       Campbell-Ewald Co., 577 U.S. at 166. And because addressing whether a defendant

       acted within the scope of its legal authority will often be “coterminous with the

       merits of the action,” it makes little sense to consider the doctrine as providing

       immunity from suits to assess the merits of the action. Appellees’ Add. at 12 (DOJ

       Amicus Br.). Derivative sovereign immunity is thus not an immunity from suit, but

       rather a defense to liability.

              The only circuit court decisions addressing appellate jurisdiction of denials of

       derivative sovereign immunity are aligned with the Plaintiffs’ and the United States’

       position. See Al Shimari v. CACI Premier Tech., Inc., 775 F. App’x 758, 759–60 (4th

       Cir. 2019), cert. denied, No. 19-648, 2021 WL 2637838 (U.S. June 28, 2021); Martin



       of Cultural Care’s derivative sovereign immunity.

                                                 16
Case: 21-1676    Document: 00117853883       Page: 23     Date Filed: 03/17/2022    Entry ID: 6483498




       v. Halliburton, 618 F.3d 476, 485 (5th Cir. 2010); Houston Cmty. Hosp. v. Blue Cross

       & Blue Shield of Tex., Inc., 481 F.3d 265, 276–81 (5th Cir. 2007).

             Cultural Care contrives a circuit split by pointing to cases involving collateral

       order doctrine appeals related to different types of immunity.3 See Appellant’s Br. at

       22-25 (citing cases involving sovereign immunity, foreign sovereign immunity,

       qualified immunity, absolute immunity, foreign attachment immunity, derivative

       Stafford Act immunity, and Feres immunity). But these cases address immunity

       doctrines that provide immunity from suit and are therefore inapposite. In fact, the

       policy interests underlying the immunity doctrines discussed in those cases reinforce

       why the collateral order doctrine does not apply in this case.

             McMahon v. Presidential Airways, Inc., 502 F.3d 1331 (11th Cir. 2007),

       considers whether the collateral order doctrine applies to Feres immunity, which

       bars servicemembers from “recover[ing] for their service-related injuries in tort suits

       against the government.” See 502 F.3d at 1341. McMahon points to interests specific

       to the Feres doctrine that do not apply in derivative sovereign immunity contexts—


             3
                Cultural Care also cites to Cunningham v. Gen. Dynamics Info. Tech., Inc.,
       888 F.3d 640 (4th Cir. 2018). But that case involved a typical appeal from final
       judgment based on a Rule 12(b)(6) dismissal, not the appeal of a collateral order. Id.
       And while that court did find derivative sovereign immunity to be jurisdictional
       rather than a mere defense to liability, id. at 649-51, when the Fourth Circuit squarely
       addressed the appellate jurisdiction issue at stake here, it concluded that there was
       no collateral order doctrine jurisdiction over an appeal from a denial of derivative
       sovereign immunity. See Al Shimari, 775 F. App’x at 759–60.

                                                 17
Case: 21-1676   Document: 00117853883        Page: 24     Date Filed: 03/17/2022    Entry ID: 6483498




       “the need to avoid judicial interference with military discipline and sensitive military

       judgments”—to conclude that the Feres immunity, unlike derivative sovereign

       immunity, is an immunity from suit. Id. at 1340; see also Newton v. Lee, 677 F.3d

       1017, 1022-23 (10th Cir. 2012); Dibble v. Fenimore, 339 F.3d 120, 122-25 (2d Cir.

       2003); Regan v. Starcraft Marine, LLC, 524 F.3d 627, 630-33 (5th Cir. 2008);

       Jackson v. Brigle, 17 F.3d 280, 281-82 (9th Cir. 1994); Lutz v. Sec'y of Air Force,

       944 F.2d 1477, 1479 (9th Cir. 1991).

             In re World Trade Center Disaster Site Litigation, 521 F.3d 169 (2d Cir. 2008),

       is also distinguishable. There, the Second Circuit addressed whether the collateral

       order doctrine applies to a derivative assertion of Stafford Act immunity—immunity

       for the “exercise or performance of or the failure to exercise or perform a

       discretionary function or duty on the part of a Federal agency or an employee of the

       Federal Government” providing disaster relief. See 42 U.S.C. § 5148; In re World

       Trade Ctr. Disaster Site Litig., 521 F.3d at 187. Stafford Act immunity is a

       form of “discretionary function immunity” protecting activities that “involve an

       element of judgment or choice” that are “grounded in considerations of public

       policy.” See In re World Trade Ctr. Disaster Site Litig., 521 F.3d at 195.

             Policy interests underpinning “discretionary function immunity,” according

       to the Second Circuit, suggest it is an immunity from suit entirely. As the Second

       Circuit explained:


                                                 18
Case: 21-1676     Document: 00117853883       Page: 25     Date Filed: 03/17/2022      Entry ID: 6483498




             The discretionary function immunity in the Stafford Act … is obviously
             animated by separation of powers concerns. Section 305 of the Stafford
             Act protects a right—the right of federal agencies to make discretionary
             decisions when engaged in disaster relief efforts without fear of judicial
             second-guessing—that is a “particular value of a high order.” Denying
             immediate review of the denial of such an immunity could well result
             in “a trial that would imperil a substantial public interest.”
       Id. at 192 (quoting Will v. Hallock, 546 U.S. 345, 352-53 (2006)).

             Cultural Care’s purported derivative sovereign immunity involves entirely

       distinct interests. In this case, there is no reason that a trial regarding Cultural Care’s

       obligations under state law would “imperil a substantial public interest.” Such a trial

       would not expose sensitive military information or involve second guessing

       discretionary decisions that must not be second guessed. Rather, in this case, to the

       extent Cultural Care is protected against liability for alleged violations of laws, its

       interests can be adequately protected through an appeal after final judgment.

             This Court should follow the reasoning of the United States, which is

       consistent with this Circuit’s prior precedent and with the Fourth and Fifth Circuits

       and conclude there is no appellate jurisdiction over Cultural Care’s appeal from the

       District Court’s rejection of its derivative sovereign immunity argument.

             2.     There Is No Pendent Appellate Jurisdiction to Consider the Remaining
                    Issues
             Even if this Court were to conclude that there is appellate jurisdiction to

       consider Cultural Care’s assertion of derivative sovereign immunity under the

       collateral order doctrine, the Court would have jurisdiction only over the derivative

                                                   19
Case: 21-1676   Document: 00117853883       Page: 26     Date Filed: 03/17/2022    Entry ID: 6483498




       sovereign immunity question at issue here. Appellant’s Br. 21-25. But Cultural Care

       does not stop at derivative sovereign immunity. Instead, it urges this Court to

       consider most of the remaining issues raised in its motion to dismiss below—and

       even issues it did not raise—based on its assertion of pendent appellate jurisdiction.

       See Appellant Br. at 34-35, 48-49. This Court does not have pendent appellate

       jurisdiction over those matters.

             As this Circuit and the Supreme Court have observed, “‘a rule loosely

       allowing pendant appellate jurisdiction would encourage parties to parlay . . .

       collateral orders into multi-issue interlocutory appeal tickets.’” United States v.

       Marino, 200 F.3d 6, 12 (1st Cir. 1999) (quoting Swint v. Chambers County

       Commission, 514 U.S. 35, 49-50 (1995)). The Supreme Court and this Court have

       thus placed “severe constraints” on pendent appellate jurisdiction. Id. “Instances in

       which the exercise of pendent appellate jurisdiction is appropriate are hen’s-teeth

       rare.” Braintree Lab’ys, Inc. v. Citigroup Glob. Markets Inc., 622 F.3d 36, 44 (1st

       Cir. 2010) (internal quotation marks omitted).

             In urging this Court to exercise pendent appellate jurisdiction over its

       preemption and FLSA employer arguments, Cultural Care invokes a line of cases

       involving Eleventh Amendment immunity. See Appellant Br. at 48-49. But appeals

       from denials of Eleventh Amendment immunity are distinct. In that context, this

       Court has exercised broader pendent appellate jurisdiction to dispose of cases on


                                                20
Case: 21-1676   Document: 00117853883        Page: 27    Date Filed: 03/17/2022    Entry ID: 6483498




       merits issues, without having to address constitutional Eleventh Amendment

       questions. Lopez v. Massachusetts, 588 F.3d 69, 82-83 (1st Cir. 2009) (“The doctrine

       of constitutional avoidance presents an especially strong justification for exercising

       pendent appellate jurisdiction….”); Nieves-Marquez v. Puerto Rico, 353 F.3d 108,

       124 (1st Cir. 2003) (“assertion of such jurisdiction is in keeping with the rule that

       courts should avoid deciding constitutional issues if non-constitutional grounds are

       available”). Constitutional avoidance concerns present in Eleventh Amendment

       immunity cases are not present here, however. Unlike state sovereign immunity,

       federal sovereign immunity and derivative sovereign immunity are rooted in the

       common law, not in the Constitution. See, e.g., Zych v. Unidentified Wrecked &

       Abandoned Vessel, Believed to be the Seabird, 19 F.3d 1136, 1142 (7th Cir. 1994)

       (“Federal sovereign immunity is a common law doctrine that simply holds that the

       federal government cannot be sued without its consent. State sovereign immunity is

       a constitutional doctrine which rests on principles of federalism.” (internal quotation

       marks and emphasis omitted)).

             Here, the Court should apply the traditionally strict standard to decide whether

       there is pendent jurisdiction over the preemption and FLSA employer questions. In

       this Court, “at a bare minimum, a party promoting the exercise of pendent appellate

       jurisdiction [must] demonstrate either that the pendent issue is inextricably

       intertwined with the issue conferring the right of appeal or that review of the pendent


                                                 21
Case: 21-1676     Document: 00117853883      Page: 28    Date Filed: 03/17/2022    Entry ID: 6483498




       issue is essential to ensure meaningful review of the linchpin issue.” See Limone v.

       Condon, 372 F.3d 39, 51 (1st Cir. 2004).

                Cultural Care cites to Mathis v. Henderson, 243 F.3d 446 (8th Cir. 2001), to

       suggest that the preemption and derivative sovereign immunity issues are

       intertwined because deciding the preemption issue in Cultural Care’s favor will

       have the same effect as deciding the sovereign immunity issue in Cultural Care’s

       favor. Appellant Br. at 34.

                This is not the law. The question is whether the preemption and derivative

       sovereign immunity inquiries substantially overlap. See Morris-Hayes v. Bd. of

       Educ. of Chester Union Free Sch. Dist., 423 F.3d 153, 163 (2d Cir. 2005) (to be

       “intertwined” there must be “sufficient overlap in the factors relevant to the

       appealable and nonappealable issues”); United Transp. Union Loc. 1745 v. City of

       Albuquerque, 178 F.3d 1109, 1114 (10th Cir. 1999) (“We have further interpreted

       “inextricably intertwined” to include only situations where “the pendent claim is

       coterminous with, or subsumed in, the claim before the court on interlocutory

       appeal-that is, where the appellate resolution of the collateral appeal necessarily

       resolves the pendent claim as well.” (internal quotation marks omitted)).

             Applying this standard, appellate courts addressing the issue in similar

       contexts typically conclude that they do not have pendant appellate jurisdiction over

       preemption arguments even when they have collateral order doctrine jurisdiction


                                                 22
Case: 21-1676    Document: 00117853883       Page: 29     Date Filed: 03/17/2022    Entry ID: 6483498




       over related sovereign immunity issues. Al-Quraishi v. L-3 Servs., Inc., 657 F.3d

       201, 215 (4th Cir. 2011) (“Preemption is not ‘inextricably intertwined with’ the

       question of L–3’s immunity under the laws of war because those inquiries are wholly

       distinct.”); McMahon, 502 F.3d at 1366 (“We have considerable doubt that this

       theory [i.e., preemption of a state law tort claim] is inextricably intertwined with the

       arguable claim of derivative Feres immunity upon which our appellate jurisdiction

       is based.”).

             Even if they can be intertwined in some circumstances, however, the

       preemption and derivative sovereign immunity inquiries are not intertwined here.

       The derivative sovereign immunity analysis looks at whether Cultural Care acts as a

       contractor or agent of the federal government and whether it acts within the scope

       of that agency. The preemption analysis examines whether Congress and the State

       Department intended to preempt Cultural Care’s obligations under state minimum

       wage laws.

             It is also hard to see how the issue of derivative sovereign immunity is

       inextricably intertwined with Cultural Care’s arguments about its status as an FLSA

       employer. Derivative sovereign immunity is not even a defense to FLSA liability.

       Appellant’s Add. at 13 n.4 (District Court applying the FLSA’s penalties to

       provision to any “employer”), § 203(d) (defining “employer” to include public

       agencies)), and Cultural Care expressly did not assert derivative sovereign immunity


                                                 23
Case: 21-1676    Document: 00117853883      Page: 30     Date Filed: 03/17/2022      Entry ID: 6483498




       to Plaintiffs’ FLSA claims. See Appellant’s Br. at 21 (“Derivative Sovereign

       Immunity Bars The State Law Claims” (emphasis added)).

             The Lopez case cited by Cultural Care in support of pendent appellate

       jurisdiction over the FLSA employer issue is also inapposite. See Appellant Br. at

       48-49 (citing Lopez, 588 F.3d 69). In Lopez, the question was whether the state was

       entitled to Eleventh Amendment immunity against a Title VII claim. The Court

       instead considered whether the defendant was an “employer” under Title VII

       because that issue was “determinative,” i.e., it disposed of the case entirely, and by

       resolving that issue the Court could avoid a constitutional question about the scope

       of Eleventh Amendment immunity. Id. at 82-83. As explained above, whether

       Cultural Care is derivatively immune is not a constitutional question, and in any

       event, addressing Cultural Care’s employer status under the FLSA would not be

       determinative because it would not dispose of Plaintiffs’ state law claims.

             Finally, “[t]he exercise of pendent appellate jurisdiction is discretionary.”

       United Transp. Union Loc. 1745 v. City of Albuquerque, 178 F.3d 1109, 1114 (10th

       Cir. 1999). Because of the number and complexity of issues implicated by Cultural

       Care’s preemption and FLSA employer arguments—issues that will benefit from

       further factual development below—even if Cultural Care’s pendent jurisdiction

       arguments raise a close call, the Court should exercise its discretion to decline such

       jurisdiction.


                                                24
Case: 21-1676     Document: 00117853883      Page: 31     Date Filed: 03/17/2022    Entry ID: 6483498




       D.    Cultural Care Is Not Entitled to Derivative Sovereign Immunity with
             Respect to the State Law Claims

             1.     Because It Is Not a Contractor or Agent of the Federal Government,
                    Cultural Care is Not Protected by Derivative Sovereign Immunity

             Cultural Care asserts derivative sovereign immunity for both Plaintiffs’ state

       minimum wage claims and state consumer protection claims. Even if the Court has

       jurisdiction to consider the issue, it should reject Cultural Care’s arguments. Cultural

       Care can point to no contract with the federal government to support its claim to

       immunity, and it does not identify any federal regulation creating an agency

       relationship between the federal government and Cultural Care, particularly in light

       the high bar for establishing such a relationship, United States v. Flemmi, 225 F.3d

       78, 85 (1st Cir. 2000) (agency with federal government can only be conveyed by

       actual authority expressed “in clear and unequivocal terms.”).

             The Supreme Court has explained that derivative sovereign immunity is

       available to “[g]overnment contractors . . . [seeking] immunity in connection with

       work which they do pursuant to their contractual undertakings with the United

       States.” Campbell-Ewald, 577 U.S. at 166 (citations and quotations omitted). Cases

       involving assertions of derivative sovereign immunity typically turn on whether a

       federal contractor performed work pursuant to “the Government’s explicit

       instructions,” id., or whether a contractor “exceeded his authority” under a contract.

       Yearsley v. W.A. Ross Const. Co., 309 U.S. 18, 21 (1940). But before considering


                                                 25
Case: 21-1676    Document: 00117853883      Page: 32     Date Filed: 03/17/2022    Entry ID: 6483498




       whether a government contractor acted within the scope of its delegated authority,

       there is the antecedent question of whether the defendant is “an agent or officer of

       the Government purporting to act on its behalf.” Id.; see also Butters v. Vance Int’l,

       Inc., 225 F.3d 462, 466 (4th Cir. 2000) (derivative sovereign immunity is available

       to “contractors and common law agents”).

             Courts addressing the derivative sovereign immunity doctrine have assumed

       that a private party may only act as an “agent or officer of the Government” when it

       has a contractual relationship of some form with the government.4 See e.g.,

       Campbell- Ewald, 577 U.S. at 166 (“When a contractor violates both federal law

       and the Government's explicit instructions, as here alleged, no ‘derivative immunity’

       shields the contractor from suit by persons adversely affected by the violation.”

       (emphasis added)); Yearsley, 309 U.S. at 19 (describing “work . . . done pursuant to

       a contract with the United States Government” (emphasis added)); Taylor Energy

       Co., L.L.C. v. Luttrell, 3 F.4th 172, 176 (5th Cir. 2021) (“The appropriate inquiry is

       whether Couvillion adhered to the Government’s instructions as described in the


             4 There is some disagreement over whether defendants seeking to invoke
       derivative sovereign immunity must establish a common law agency relationship in
       addition to their contract with the federal government. In re Fort Totten Metrorail
       Cases Arising Out of Events of June 22, 2009, 895 F. Supp. 2d 48, 74 n.17 (D.D.C.
       2012) (discussing disagreement among courts about whether a party claiming
       derivative sovereign immunity must establish a common law agency relationship
       with the government or whether working within the scope of a government contract
       may be enough).

                                                26
Case: 21-1676   Document: 00117853883       Page: 33     Date Filed: 03/17/2022   Entry ID: 6483498




       contract documents.” (emphasis added)); In re U.S. Off. of Pers. Mgmt. Data Sec.

       Breach Litig., 928 F.3d 42, 70 (D.C. Cir. 2019) (“To claim immunity, KeyPoint had

       to establish ‘compliance with all federal directions’ pertaining to its relevant

       conduct, including the regulatory and contractual obligation to meet the Privacy

       Act’s standards in its contract operations [with the federal Office of Personnel

       Management].” (emphasis added)); Al Shimari v. CACI Premier Tech., Inc., 657 F.

       Supp. 2d 700, 717 (E.D. Va. 2009) (“The Court is completely bewildered as to how

       Defendants expect the Court to accept this scope of contract argument when the

       contract is not before the Court on this motion.”).

             Based on this case law, the District Court made short work of Cultural Care’s

       argument:

             Unlike the parties that successfully invoked derivative sovereign
             immunity in Yearsley and Cunningham, Cultural Care was not hired by
             the government to perform certain tasks; it voluntarily decided to apply
             to be a sponsor organization and operate an au pair program, and a
             condition of doing that was complying with the applicable regulations.
             Cultural Care is thus more akin to a company operating in a heavily
             regulated industry, like a bank, than a contractor hired by the
             government to perform a specific task. Cf. City of Worcester v. HCA
             Management Co., Inc., 753 F. Supp. 31, 37–38 (D. Mass. 1990) (“The
             Supreme Court has long held that, pursuant to sovereign immunity, a
             private company which contracts with the federal government to
             perform the duties of the government will not be held liable for its
             actions on behalf of the government.”).
       Appellant’s Add. at 12. The District Court concluded by noting that “Cultural Care’s

       arguments amount to saying that it operates in a heavily regulated area and therefore


                                                27
Case: 21-1676   Document: 00117853883       Page: 34     Date Filed: 03/17/2022    Entry ID: 6483498




       should have derivative sovereign immunity, a principle that is far broader than the

       court can accept.” Id. at 13.

             It makes sense that courts generally require a contract with the federal

       government as a necessary element of the derivative sovereign immunity test. It is

       unlikely that the federal government would enter a “fiduciary relationship that arises

       when one person . . . manifests assent to [an agent to act on] the principal’s behalf

       and subject to the principal’s control” or permit the purported agent to “manifest[]

       assent or otherwise consent[] so to act” without there being a contract between the

       federal government and the purported agent. Restatement (Third) Of Agency § 1.01

       (2006). Concluding that an agency relationship may exist absent a contractual

       relationship would open courts to derivative sovereign immunity defenses from a

       wide swath of private entities operating under the authorization of the federal

       government and subject to federal regulations.

             In fact, Cultural Care cannot identify any case in which a private entity has

       benefitted from derivative sovereign immunity without some form of contractual

       relationship between it and the government. Even in Evans v. Mayer Tree Serv., Inc.,

       162 N.E.3d 70, 73 (Mass. Ct. App. 2020)—which Cultural Care argues is such a

       case—there were contracts connecting all the parties to the federal government and

       spelling out a potential agency relationship: a federal agency contracted with a state

       agency, and the state agency contracted with the private party that claimed


                                                28
Case: 21-1676    Document: 00117853883        Page: 35     Date Filed: 03/17/2022     Entry ID: 6483498




       immunity.5

             Here, there is no contract between Cultural Care and the United States

       government. Hilbert v. Aeroquip, Inc., 486 F. Supp. 2d 135, 148 (D. Mass. 2007)

       (no “colorable” derivative sovereign immunity defense where defendant “has not

       supplied any of its contracts with the government”). That should end the matter.

             Even if an agency relationship sufficient to establish derivative sovereign

       immunity could exist in the absence of a contract, it does not exist here. This Court

       has clarified when addressing whether a private entity has the authority to act as an

       agent of the federal government that such authority exists only where the federal

       government has granted it “in clear and unequivocal terms.” Flemmi, 225 F.3d at 85;

       see Yearsley, 309 U.S. at 21 (immunity requires following “the Government’s

       explicit instructions”). A “designation” defined by regulation as a “written

       authorization issued by the Department of State,” 22 C.F.R. § 62.2, does not come

       close to meeting that standard. A private entity cannot obtain immunity from suit


             5
               Cultural Care cites Evans v. United States, 876 F.3d 375 (1st Cir. 2017) as
       the “parallel” case to the state court case. Appellant’s Br. at 29 n. 4. There, this Court
       explains that a federal agency (Animal Plant and Health Inspection Service
       (“APHIS”) entered into an “agreement” with the Massachusetts Department of
       Conservation and Recreation (“DCR”), and that DCR contracted with “contractors”
       to remove beetle-infested trees. Id. at 378 (“DCR entered into a cooperative
       agreement (the Agreement) with APHIS to jointly combat the ALB infestation.”).
       Again, the immunity granted in the state court case to the contractor was a result of
       agency conveyed through contract. See id. at 379 (“an APHIS representative would
       go into the field with the tree-removal contractors hired by DCR”).

                                                  29
Case: 21-1676     Document: 00117853883      Page: 36     Date Filed: 03/17/2022    Entry ID: 6483498




       because it has federal “authorization” to market a drug for an emergency use, 21

       U.S.C. § 360bbb-3, operate a nuclear power plant, 10 C.F.R. § 26.53, enter a military

       facility, 32 C.F.R. § 761.8, or do any number of other things that the federal

       government may “authorize.”

             Furthermore, the specific regulations that Cultural Care argues create an

       agency relationship in this case expressly prohibit Cultural Care from even asserting

       that it acts on behalf of the federal government: “Sponsors must . . . [not] represent

       that its [sic] exchange visitor program is endorsed, sponsored, or supported by the

       Department of State or the U.S. Government.” 22 C.F.R. § 62.9(d)(5). Rather, the

       same regulation clarifies, a sponsor may only “represent that it is designated by the

       Department of State as a sponsor of an exchange visitor program.” Id. And nothing

       in those regulations purport to immunize sponsors from state law. In fact, the J-1

       visa sponsor regulations command Cultural Care to “remain in compliance with all

       local, state, and federal laws,” see 22 C.F.R. § 62.9,6 and to designate Responsible

       Officers with a “detailed knowledge of federal, state, and local laws pertaining to

       employment,” 22 C.F.R. § 62.11.

             2.     Cultural Care Cannot Establish as a Matter of Law that It Acted Within

             6
               Cultural Care has previously claimed that this requirement to comply “with
       all local, state, and federal laws … to carry out the activities for which it is
       designated” is limited to accreditation and licensure. But that is inconsistent with the
       text of the regulation, which states the requirement “include[s] accreditation and
       licensure,” not that it is limited to accreditation and licensure. See id.

                                                 30
Case: 21-1676   Document: 00117853883       Page: 37     Date Filed: 03/17/2022    Entry ID: 6483498




                    Authority Validly Conferred by the Federal Government

             Even if Cultural Care could be entitled to derivative sovereign immunity via

       an agency relationship created by the au pair regulations, it is not protected by

       derivative sovereign immunity if it “exceeded [its] authority or the authority was not

       validly conferred.” Campbell-Ewald, 577 U.S. at 167.

             Cultural Care cannot establish that it acted within validly conferred authority.

       First, Cultural Care did not act within any such authority when it defrauded host

       families and au pair program participants and therefore cannot benefit from

       derivative sovereign immunity against Plaintiffs’ consumer protection claims. Even

       if au pair regulations convey the agency relationship Cultural Care suggests they do,

       they do not authorize Cultural Care to make misrepresentations to host families and

       childcare workers on J-1 au pair visas. See Faiella v. Fed. Nat'l Mortg. Ass'n, 928

       F.3d 141, 150 (1st Cir. 2019) (“[T]he record is devoid of anything that might suggest

       that Ditech personnel were granted actual authority by Fannie Mae to make the

       allegedly inaccurate representations that the appellant attributes to them.”); Brown

       v. Fort Benning Fam. Communities LLC, 108 F. Supp. 3d 1367, 1374 (M.D. Ga.

       2015) (“the Court can conceive of no legitimate reason to protect a private entity

       from [fraud] claims, particularly when no evidence exists in the present record that

       the Army played a material role in the alleged misrepresentations.”). Indeed, rather

       than permitting misrepresentations, the au pair sponsor regulations require that


                                                31
Case: 21-1676    Document: 00117853883       Page: 38     Date Filed: 03/17/2022     Entry ID: 6483498




       sponsors “[p]rovide accurate program information and materials to prospective

       exchange visitors, host organizations, and host employers….” 22 C.F.R. §

       62.9(d)(3).

             With respect to Plaintiffs’ wage and hour claims, even if Cultural Care

       operates pursuant to an agency relationship, there are not enough facts in the record

       to determine whether Cultural Care’s conduct giving rise to those claims falls within

       the scope of any purported agency relationship. At a minimum, this Court should

       remand for discovery on the issues of whether Cultural Care’s purported authority

       was validly conferred and whether Cultural Care exceeded its authority. See, e.g., In

       re KBR, Inc., Burn Pit Litig., 744 F.3d 326, 345 (4th Cir. 2014) (reversing district

       court dismissal on derivative sovereign immunity ground because of a lack of record

       evidence supporting the immunity).

             Discovery would be necessary to address a range of questions. For example,

       Plaintiffs allege that the activities making Cultural Care an employer under state law

       go beyond any regulatory requirements on sponsors. See Appellant’s Add. at 18-

       20.7 Thus, at least as alleged, Cultural Care is an “employer” subject to state


             7
               This finding is in line with other federal and state trial courts to consider the
       same issue with respect to Cultural Care. See id. at 20 (citing Kudlacz v. Cultural
       Care, Inc., Case No. CGC-20-584567, Slip. Op. p. 3. (Cal. Sup. Ct. Sept. 3,
       2020); Beltran v. Interexchange, Inc., No. 14-CV-03074-CMA-KMT, 2016 WL
       695967, at *10 (D. Colo. Feb. 22, 2016), report and recommendation adopted in part,
       rejected in part, 176 F. Supp. 3d 1066 (D. Colo. 2016)).

                                                  32
Case: 21-1676    Document: 00117853883       Page: 39     Date Filed: 03/17/2022    Entry ID: 6483498




       minimum wage requirements, and not immune, because it is acting outside any

       authority conferred by the regulations. See id. Discovery on whether Cultural Care’s

       activities triggering employer status fall within any authority conferred by the State

       Department would therefore be necessary to resolve Cultural Care’s assertion of

       derivative sovereign immunity to Plaintiffs’ wage and hour claims. See Campbell-

       Ewald Co., 577 U.S. at 167.

             There are also factual questions about whether any conferral of authority from

       the State Department to Cultural Care would be valid. See id. There is some

       indication in publicly available communications about Cultural Care that Cultural

       Care is or was wholly owned by a Swiss entity named “EF Education First.”8 But an

       Au Pair Sponsor must be a “United States Person,” which, in the case of an entity,

       requires a majority of its owners to be U.S. citizens or permanent residents. See 22

       C.F.R. §§ 62.2 (defining “United States Person (legal entity)”), 62.3(a)(3) (requiring

       private sponsors to be “United States Persons”). If Cultural Care is or was owned by

       a foreign corporation during the period in which Plaintiffs claim that it violated their

       rights under state laws, it may not have been acting pursuant to “validly conferred”

       authority. That question too could be probed through discovery on remand.




             8
               A 2016 EF Education First Company Fact Sheet lists Cultural Care Au Pair
       as a division or business unit of EF Education First. See Appellees’ Add. at 24.

                                                 33
Case: 21-1676     Document: 00117853883     Page: 40     Date Filed: 03/17/2022    Entry ID: 6483498




       E.    Plaintiffs’ State Law Claims Are Not Preempted

             1.     The Court Should Consider Preemption of the State Consumer Claims
                    and the State Minimum Wage Claims Separately

             As a threshold matter, Cultural Care has presented no coherent argument why

       Plaintiffs’ state consumer claims should be deemed preempted by federal law.

       Plaintiffs’ consumer protection claims allege that Cultural Care deceived au pairs

       and host families by telling them that host families may lawfully pay au pairs less

       than state minimum wage. Even if Cultural Care were correct that Plaintiffs’ state

       wage claims against Cultural Care are preempted by federal law (which Plaintiffs

       dispute), there is no reason why either field or conflict preemption principles should

       bar Plaintiffs consumer claims. Those claims pertain to representations about the

       families’ wage obligations, which this Court, in a case in which Cultural Care was a

       party, has already concluded are not preempted by federal law, Capron, 944 F.3d 9.

       Furthermore, Plaintiffs’ consumer protection claims are entirely consistent with the

       au pair regulations, which require Cultural Care to “[p]rovide accurate program

       information and materials to prospective exchange visitors, host organizations, and

       host employers….” 22 C.F.R. § 62.9(d)(3).

             Cultural Care suggests that its misrepresentations are somehow authorized by

       State Department notices that require Cultural Care to tell host families to pay less

       than state minimum wage. See Appellant’s Add. at 88, 90. Those notices do no such

       thing. They simply purport to inform sponsors about host families’ federal minimum

                                                34
Case: 21-1676     Document: 00117853883     Page: 41     Date Filed: 03/17/2022    Entry ID: 6483498




       wage obligations. Id. But federal minimum wage obligations do not supplant state

       minimum wage obligations. 29 U.S.C. § 218(a). Furthermore, those notices have

       been removed from the State Department au pair website and predate this Court’s

       decision in Capron by a decade. Even if these notices did constitute a command from

       the State Department to inform host families to pay au pairs less than state minimum

       wage—which they do not—Cultural Care cannot rely on these stale, non-regulatory

       documents into perpetuity, while ignoring the clear holding from this Court in

       Capron regarding host family pay obligations and Cultural Care’s regulatory

       obligation to be truthful to au pairs and host families. 22 C.F.R. § 62.9(d)(3).

             2.     Congress Did Not Authorize the State Department to Preempt State
                    Minimum Wage Law
             Before considering whether the au pair regulations preempt Cultural Care’s

       obligations under state minimum wage laws, the Court must first consider whether

       Congress authorized the State Department to preempt those laws. La. Pub. Serv.

       Comm’n v. FCC, 476 U.S. 355, 374 (1986) (“[A] federal agency may preempt state

       law only when and if it is acting within the scope of its congressionally delegated

       authority.”). “[T]he best way of determining whether Congress intended the

       regulations of an administrative agency to displace state law is to examine the nature

       and scope of the authority granted by Congress to the agency.” City of New York v.

       F.C.C., 486 U.S. 57, 66 (1988).

             The extent of Congress’s delegation to the State Department is limited and

                                                 35
Case: 21-1676    Document: 00117853883      Page: 42    Date Filed: 03/17/2022    Entry ID: 6483498




       expresses concern that state labor laws be followed, not preempted. Congress has

       provided authority to the State Department to “designate” cultural exchange

       programs, 8 U.S.C. § 1101(a)(15)(J), and it has specifically authorized the agency

       “to continue to administer an au pair program, operating on a world-wide basis.” See

       Pub. L. No. 104-72, 109 Stat. 776 (1995) (authorizing for two-years); see also Pub.

       L. No. 105-48, 111 Stat. 1165 (1997) (removing the two-year sunset).

             Especially because the preemption question at issue here arises “in a field

       which the States have traditionally occupied,” Wyeth v. Levine, 555 U.S. 555, 565

       (2009) (quotation and citation omitted), this Court should not read that limited

       delegation as providing the agency with the authority to preempt state labor

       protections that apply to and protect domestic childcare workers who compete in the

       labor market with employees working on J-1 au pair visas.

             In fact, the history of the J-1 visa au pair program reveals that such a

       delegation would be antithetical to Congress’s purposes.9 The current authorization

       for the program, enacted in 1997, followed on the heels of criticism that the program

       amounted to a work program under the guise of a cultural exchange. A 1995

       rulemaking by the United States Information Agency (USIA) explained that “the


             9
               For a discussion of the history of Congress’s authorizations of the au pair
       program, see Appellant’s Add. at 3-5; Capron v. Off. of Att’y Gen. of Massachusetts,
       944 F.3d 9, 15–16 (1st Cir. 2019); Cultural Care, Inc. v. Off. of the Att’y Gen. of
       Massachusetts, No. 16-CV-11777-IT, 2017 WL 3272011, at *4–5 (D. Mass. Aug.
       1, 2017).
                                                36
Case: 21-1676   Document: 00117853883       Page: 43     Date Filed: 03/17/2022   Entry ID: 6483498




       GAO [had] determined that certain Exchange Visitor Program activities appeared to

       be inconsistent with the statutory grant of authority and its underlying legislative

       intent” because the GAO had concluded that some J-1 cultural exchange programs

       had morphed into work programs under which “participants work[ed] as waiters,

       cooks, childcare providers, amusement and leisure park workers, and summer camp

       counselors.” Exchange Visitor Program, 60 FR 8547-02, 60 Fed. Reg. 8547-53 (Feb.

       15, 1995) (internal quotation marks omitted). With the 1995 rules, USIA sought not

       only to clarify and strengthen the educational components of the au pair program but

       also to ensure that the treatment of childcare workers on au pair visas reflected the

       conclusion that “an au pair is an employee” and should be treated like one lest the

       program become a vehicle for the “import of cheap foreign labor in the guise of an

       educational and cultural exchange program.” Id.

             In the wake of the 1995 rulemaking, Congress reauthorized the program for a

       two-year period. Legislative history accompanying that reauthorization reinforces

       Congress’s expectation that USIA would not exempt the employers of J-1 visa au

       pairs from state or federal labor standards laws. Congressman Tom Lantos

       explained:

             It is extremely important . . . that the USIA and those who administer
             this program understand that this is an educational program—its
             purpose is to give young people experience with our country and its
             culture. Families who provide a home and food for foreign young
             people while they are here reasonably expect some assistance with
             household tasks. But this is not a program to circumvent our nation’s

                                                37
Case: 21-1676     Document: 00117853883     Page: 44     Date Filed: 03/17/2022    Entry ID: 6483498




             labor and immigration laws relating to employment in the United States
             by foreign citizens. This is not a program to provide free child-care for
             upper-middle class Americans. It is not a program to get around our
             nation’s labor laws. Those laws have been written for specific purposes,
             and the Au Pair Program must be consistent with our labor laws. It is
             extremely important that the international educational exchange
             component of this program be recognized and acknowledged as being
             central to this legislation.

       H.R. 2767, To Extend Au Pair Programs: Markup Before the Subcomm. On Int’l

       Operations and Human Rights of the Comm. On Int’l Relations H.R., 104 Cong. 5

       (1995) (Statement of Congressman Tom Lantos) (emphasis added).10 In other words,

       in the view of the Congress authorizing the State Department to administer the au

       pair program, the educational purposes of the program would be undermined if the

       agency were to carve au pairs or their employers out of American labor laws. See

       also Capron, 944 F.3d at 26 (“It is hardly evident that a federal foreign affairs

       interest in creating a ‘friendly’ and ‘cooperative’ spirit with other nations is

       advanced by a program of cultural exchange that, by design, would authorize foreign

       nationals to be paid less than Americans performing similar work.”).

             In 1997, Congress removed the two-year sunset from the 1995 reauthorization

       after examining industry’s compliance with the 1995 regulations. Pub. L. No. 104-

       72, 109 Stat. 776 (1995) (“This report shall specifically detail the compliance of all

       au pair organizations with regulations governing au pair programs as published on


             10
                  Included in Appellees’ Addendum at 15-22.

                                                38
Case: 21-1676     Document: 00117853883    Page: 45    Date Filed: 03/17/2022     Entry ID: 6483498




       February 15, 1995.”); Pub. L. No. 105-48, 111 Stat. 1165 (1997) (permanently

       authorizing the au pair program after two years of Congressional study regarding the

       legality of the program); see also 60 Fed. Reg. 8547-53 (Feb. 15, 1995).

             3.     The Au Pair Rules Do Not Preempt State Minimum Wage Law

             Two important threshold principles guide the Court’s analysis of Cultural

       Care’s preemption argument. First, the touchstone of any preemption analysis is the

       intent of the regulator. Wyeth, 555 U.S. at 565 (“[T]he purpose of Congress is the

       ultimate touchstone in every pre-emption case.”). Second, courts begin with the

       presumption that the State’s historic police powers are not preempted “unless that

       was the clear and manifest purpose of Congress.” Wyeth, 555 U.S. at 565 (quoting

       Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996)); Fort Halifax Packing Co., Inc.

       v. Coyne, 482 U.S. 1, 21 (1987) (“pre-emption should not be lightly inferred in this

       area, since the establishment of labor standards falls within the traditional police

       power of the State.”).

             This Court is familiar with Cultural Care’s preemption arguments, having

       heard and rejected them previously. See generally Capron, 944 F.3d 9. Cultural Care

       attempts to distinguish Capron because that case involved application of state law

       to host families, and Plaintiffs here seek to hold Cultural Care responsible for

       complying with state minimum wage requirements. But this is a distinction without

       a difference. The question is whether the State Department intended to preempt


                                               39
Case: 21-1676   Document: 00117853883        Page: 46    Date Filed: 03/17/2022    Entry ID: 6483498




       sponsor agencies’ responsibilities under state minimum wage laws. There is no

       indication in the language of the State Department’s rules or in its regulatory history

       that it held such an intent with respect to sponsor agencies but not with respect to

       host families.

             To date at least four trial or appellate courts have heard and rejected similar

       preemption arguments advanced by sponsor agencies like Cultural Care. Beltran.,

       2016 WL 695967 at *14 (“the court finds Defendants’ contention that an overall

       federal scheme and/or federal regulations pre-empt the state minimum wage laws in

       this country as applied to au pairs has no support under federal law”); Betancourt v.

       Cultural Care, Inc., Case No. 2081CV0056 (Mass. Sup. Ct., Nov. 16, 2020) (Slip

       Op. p. 9) (rejecting Cultural Care’s attempt to distinguish Capron’s holding because

       “the reasoning the court applied in rejected the field preemption argument applies

       with equal force to Defendants if they are characterized as [p]laintiffs’ joint

       employers”); Kudlacz, Case No. CGC-20-584567 (Slip Op. p. 2); Padron v.

       GreatAuPair, LLC, Case No. CGC-20-587057 (Cal. Sup. Ct. Feb. 16, 2021) (Slip.

       Op. p. 1) (rejecting sponsor agency Great Au Pair’s argument that the au pair

       program regulations preempt state and local wage and hour laws). This Court should

       reach the same conclusion.

                    (a)    There is no field preemption as to sponsor agencies
             Per the implied preemption doctrine of field preemption, “the States are


                                                 40
Case: 21-1676     Document: 00117853883       Page: 47     Date Filed: 03/17/2022     Entry ID: 6483498




       precluded from regulating conduct in a field that Congress, acting within its proper

       authority, has determined must be regulated by its exclusive governance.” Arizona

       v. United States, 567 U.S. 387, 399 (2012). Field preemption will exist when the

       regulatory framework is “‘so pervasive . . . that Congress left no room for the States

       to supplement it’ or where there is a ‘federal interest . . . so dominant that the federal

       system will be assumed to preclude enforcement of state laws on the same subject.’”

       Id. The existence of a detailed federal scheme, however, is not evidence of

       preemptive intent. Rather, a “detailed [federal] scheme [is] . . . likely and

       appropriate, completely apart from any questions of pre-emptive intent.” 424 U.S.

       at 360 (quoting New York State Dep't of Soc. Servs. v. Dublino, 413 U.S. 405, 415

       (1973)).

             In Capron, this Court concluded that “the ‘nature and complexity’ of the

       federal subject matter made the ‘detailed statutory scheme likely and appropriate,

       completely apart from any questions of pre-emptive intent.’” Capron, 944 F.3d at

       24 (quoting DeCanas v. Bica, 424 U.S. 351, 360 (1976)). Cultural Care seeks to

       circumvent Capron by arguing that State Department regulations “occupy the field

       of sponsors’ obligations, and certainly occupy the field of any wage and hour

       obligations.” Appellant’s Br. at 35.

             There are several problems with Cultural Care’s argument. First, even though

       State Department regulations place extensive requirements on sponsor agencies like


                                                  41
Case: 21-1676   Document: 00117853883        Page: 48     Date Filed: 03/17/2022    Entry ID: 6483498




       Cultural Care, those regulations do not “occupy the field of sponsors’ obligations”

       under state law. Appellant’s Br. at 35. If state regulation of all sponsor obligations

       were preempted, that would mean that sponsors are exempt from state tax regulation,

       state health and safety codes, state consumer fraud laws, and the full panoply of

       regulations traditionally within a state’s police powers. But there is no evidence of a

       Congressional or regulatory intent to preempt all sponsor agency responsibilities

       under state law. In fact, as explained above, the State Department requires sponsor

       like Cultural Care “remain in compliance with all local, state, and federal laws . . ..”

       22 C.F.R. § 62.9. Nothing about such compliance is inconsistent with extensive

       regulation of sponsor agencies in other ways.

             The State Department also did not intend to occupy the field of state wage and

       hour law with respect to sponsor agencies in particular. The notion that a “field” may

       be segmented in this manner finds no support in this Court’s preemption

       jurisprudence. Indeed, the argument is incompatible with “the basic premise of field

       preemption—that States may not enter, in any respect, an area the Federal

       Government has reserved for itself.” Arizona, 567 U.S. at 402 (emphasis added).

             The argument also does not find support in Capron. There, this Court

       described the “detailed and comprehensive” regulation of au pairs and sponsor

       agencies, but the Court did “not see why . . . that fact alone justifies the inference

       that the federal government intended the Au Pair Program to preempt a field that


                                                 42
Case: 21-1676   Document: 00117853883       Page: 49     Date Filed: 03/17/2022    Entry ID: 6483498




       would encompass” state minimum wage protections. Capron, 944 F.3d at 24. In

       some states, Plaintiffs allege, childcare workers on J-1 au pair visas have a right to

       state minimum wage from their employers. There is nothing in State Department

       regulations suggesting an intention to strip workers of their right to minimum wage

       with respect to some employers (host families) but not with respect to others

       (sponsors). The State Department did not intend to split the field of worker wage and

       hour protections and “oust state employment laws that define, as part of a generally

       applicable regulatory scheme, the rights and duties” of employers under state law.

       Id.

             Cultural Care’s contention that State Department regulations are so

       comprehensive and pervasive as to occupy the “field of [sponsor agency’s] wage

       and hour obligations,” even when this Court has already concluded that host family

       obligations are undisturbed by those same regulations, is a particularly remarkable

       assertion given that the regulations contemplate that host families and not sponsor

       agencies will be the ones paying childcare workers on J-1 au pair visas. The

       regulations do say that sponsor agencies “shall require” host families to pay

       childcare workers on J-1 au pair visas “in conformance with the requirements of the

       Fair Labor Standards Act as interpreted and implemented by the United States

       Department of Labor.” 22 C.F.R. § 62.31. But this hardly constitutes a “pervasive”

       and “comprehensive scheme” of regulation evidencing an intent “to displace state


                                                43
Case: 21-1676   Document: 00117853883       Page: 50     Date Filed: 03/17/2022    Entry ID: 6483498




       law altogether” with respect to Cultural Care’s wage and hour obligations.

       Hillsborough Cnty, Fla v. Automated Med. Labs., Inc., 471 U.S. 707, 714 (1985).

       And it certainly does not suggest that sponsor agencies will not be responsible for

       higher state minimum wages under state law if they act as an employer under state

       law. In fact, the precise language of the regulation is unhelpful for Cultural Care,

       given that the Fair Labor Standards Act expressly does not preempt higher state

       minimum wages. See 29 U.S.C. § 218(a) (“No provision of this chapter or of any

       order thereunder shall excuse noncompliance with any … State law or municipal

       ordinance establishing a minimum wage higher than the minimum wage established

       under this chapter….”); Maccabees Mut. Life Ins. Co. v. Perez-Rosado, 641 F.2d 45,

       46 (1st Cir. 1981) (“The FLSA does not expressly prohibit state legislation in the

       area of wages and working conditions. To the contrary, it (FLSA) specifically

       contemplates state regulation’ of labor conditions.” (internal quotation marks

       omitted)).

             In search of evidence of preemptive intent, Cultural Care points to an amicus

       brief the State Department filed in Capron and asks the Court to give it Auer

       deference. Appellant’s Br. at 39. But this Court in Capron rejected those amicus

       arguments and found they did not support a preemption finding. See Capron, 944

       F.3d at 40 (“the DOS’s explanation . . . fails to warrant a finding of either field or

       obstacle preemption.”).


                                                44
Case: 21-1676    Document: 00117853883      Page: 51     Date Filed: 03/17/2022    Entry ID: 6483498




               Cultural Care also relies on the State Department’s April 2021 Notice of

       Rulemaking as evidence of an historic intent by the agency to preempt state law. See

       Appellant’s Br. at 40. But the reverse is true: the new proposed rulemaking shows

       that the State Department believes its current regulations do not reflect an intent to

       preempt state wage laws, hence the need to expressly preempt state laws in the new

       rule.

                     (b)   There is no conflict preemption because the regulations do
                           not set a ceiling on wages.
               Conflict preemption exists where compliance with both state and federal law

       is impossible, or where state law is an obstacle to the accomplishment and execution

       of the purpose and objectives of the federal law. Oneok, Inc. v. Learjet, Inc., 575

       U.S. 373, 377 (2015). Cultural Care offers four reasons why conflict preemption

       applies here. None is persuasive.

               First, Cultural Care argues that “converting” sponsors into employers would

       be logistically difficult and potentially costly because they would have to comply

       with the wage and hour laws of multiple jurisdictions. As an initial matter,

       Appellees’ dispute the notion that they are arguing for “converting” sponsors into

       employers. The question is not whether the federal regulations “convert” sponsors

       into employers, but rather whether state laws imposing employer obligations on

       sponsors would conflict with federal regulations. The answer to that question—in

       Capron and here—is no. See Capron, 944 F.3d at 40 (“[A]as we have noted, by

                                                45
Case: 21-1676    Document: 00117853883       Page: 52     Date Filed: 03/17/2022     Entry ID: 6483498




       terms, the ‘Exchange Visitor Program’ regulations address only the obligations that

       sponsors must meet in order to avoid the sanctions that the DOS may impose on

       them under the regulations. The regulations do not, by terms, purport to define the

       obligations of the employers themselves that those whom they employ may enforce

       against them.”).

             Cultural Care’s reliance on Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S.

       341, 350 (2001) underscores the weakness of its argument. Appellant’s Br. at 44. In

       Buckman, the state law claims were predicated entirely on violations of federal law.

       As the Supreme Court explained, “were plaintiffs to maintain their fraud-on-the-

       agency claims here, they would not be relying on traditional state tort law which had

       predated the federal enactments in questions. On the contrary, the existence of these

       federal enactments is a critical element in their case.” Id. at 353. The opposite is true

       here. The state wage and hour laws at issue “are generally applicable to all domestic

       workers” and predate the au pair exchange program regulations by more than a half

       century. “Thus, they are not predicated on the existence of the federal au pair

       exchange program regulations.” Capron, 944 F. 3d at 23 (rejecting Cultural Care’s

       reliance on Buckman).

             Further, the possibility that compliance with wage and hour regulations might

       be costly is not evidence that those laws are an obstacle to accomplishment of the

       objectives of Congress. Many industries are subject to simultaneous state and federal


                                                  46
Case: 21-1676   Document: 00117853883       Page: 53     Date Filed: 03/17/2022    Entry ID: 6483498




       regulation. And many employers are required to comply with the wage and hour

       laws of multiple jurisdictions. In fact, far from excusing compliance with state law,

       as explained elsewhere federal regulations require sponsor agencies to comply with

       “all local, state, and federal laws,” 22 C.F.R. § 62.9, and mandate that those agencies

       operating programs with an employment component “have a detailed knowledge of

       federal, state, and local laws pertaining to employment,” 22 C.F.R. § 62.11. These

       and other federal regulations suggest that “the Au Pair Program operates parallel to,

       rather than in place of, state employment laws that concern wages and hours and that

       protect domestic workers generally.” Capron, 944 F.3d at 30–31.

             Second, Cultural Care argues that “converting” sponsors into employers

       would conflict with the State Department’s policy choice in making sponsors

       “administrators” of the au pair program. Again, though, Appellees do not contend

       that sponsors are employers merely because they are sponsors. Rather, Cultural Care

       is an employer because of the authority and control it holds and exercises over

       childcare workers on J-1 au pair visas, including authority and control far in excess

       of what is required by State Department regulations. See Appellant’s Add. at 18-20

       (District Court Order finding Plaintiffs alleged Cultural Care’s control over au pairs

       exceeded regulatory requirements).

             Cultural Care also fails to explain how application of state wage and hour laws

       against sponsor agencies would pose an obstacle to the Au Pair Program’s foreign


                                                 47
Case: 21-1676   Document: 00117853883       Page: 54    Date Filed: 03/17/2022    Entry ID: 6483498




       affairs objective. Congress intended the Au Pair Program to “promote international

       cooperation” and “assist in the development of friendly, sympathetic, and peaceful

       relations between the United States and the other countries of the world.” 22 U.S.C.

       § 2451. Requiring sponsor agencies that behave like employers under state law to

       comply with state minimum wage requirements is not an obstacle to creating a

       “‘friendly’ and ‘cooperative’ spirit with other nations.” See Capron, 944 F.3d at 26.

       And nothing about application of state minimum wage laws against sponsor agencies

       prevents those agencies from interviewing applicants, engaging regularly with au

       pairs, and otherwise comply with their regulatory obligations consistent with the

       program’s foreign affairs objectives.

             Third, Cultural Care argues that “sponsors’ compliance with state wage and

       hour laws would result in the displacement of the specific monitoring requirements

       that the State Department imposed.” Appellant’s Br. at 45. While Cultural Care lists

       various obligations an employer might have under New York, Massachusetts, and

       other states’ wage laws, it offers no persuasive explanation why those

       responsibilities would interfere with its existing obligations under federal law. To

       the contrary, monitoring that au pairs are treated in accordance with minimum labor

       standards would be entirely consistent with Cultural Care’s monitoring obligations.

       For example, 22 C.F.R. § 62.31(l), which sets forth sponsors’ monitoring

       obligations, requires that Sponsors “fully monitor all au pair exchanges.” The


                                                48
Case: 21-1676   Document: 00117853883        Page: 55     Date Filed: 03/17/2022   Entry ID: 6483498




       regulation then identifies certain specific monitoring functions which Sponsors shall

       perform “at a minimum.” Id. (emphasis added). Thus, the regulations expressly

       contemplate that the delineated monitoring functions are a floor, not a ceiling, on

       sponsors’ obligations. This reading is consistent with other sections of the

       regulations, which expressly provide that sponsors must monitor “the progress and

       welfare of exchange visitors,” 22 C.F.R. § 62.10(d)(2), and “remain in compliance

       with all local, state, and federal laws.” 22 C.F.R. § 62.9.

             Finally, Cultural Care argues that allowing wage and hour suits to go forward

       against it “would conflict with the State Department’s chosen enforcement

       mechanism.” Appellant’s Br. at 47. But Cultural Care is mixing apples with oranges.

       Appellees do not argue that the federal regulations create liability or a damages

       regime for wage and hour violations. If that were the case, there might be some

       validity to Cultural Care’s argument. See Buckman, 531 U.S. at 350. Instead, the

       regulations expressly envision a place for state and local laws within the exchange

       program. 22 C.F.R. § 62.9. Whether the State Department’s remedy for Sponsor

       non-compliance with regulatory requirements is limited to exchange program

       suspension or termination says nothing about the remedies available to program

       participants (or state and local governments themselves, for that matter) resulting

       from sponsors’ violations of state and local laws. The logical implication of Cultural

       Care’s argument is a grant of immunity for an enormous array of potential unlawful


                                                 49
Case: 21-1676     Document: 00117853883     Page: 56     Date Filed: 03/17/2022    Entry ID: 6483498




       conduct, including tax fraud, health and safety violations, and consumer fraud.

       F.      The Complaint Plausibly Pleads That Cultural Care Is a FLSA
               Employer

               Lastly, the Court should affirm the District Court’s holding that Plaintiffs

       adequately alleged Cultural Care employed them under the FLSA—the third court

       to reach the same conclusion as to Cultural Care. See Appellant’s Add. at 20 (citing

       Kudlacz, Case No. CGC-20-584567, Slip. Op. p. 3; Beltran, 2016 WL 695967, at

       *10).

                Cultural Care sought dismissal below based on the singular argument that

       “merely following federal regulations . . . does not make it an employer.” Appellant’s

       Add. at 18. But as the District Court properly recognized, Plaintiffs allege that

       Cultural Care’s activities extend beyond the mere requirements of the au pair

       regulations. For example, “Plaintiffs allege that Cultural Care retains the exclusive

       right to determine—for reasons not necessarily dictated by these regulatory

       stipulations—that a host family isn’t suitable and to remove the family from the

       program.” Appellant’s Add. at 19. Moreover, Cultural Care “allegedly retains full

       discretion of whether to end an au pair’s placement, App. at 15-56, ¶ 24(j) (operative

       complaint), whether to end an au pair’s participation in the program entirely, id. at ¶

       26, and whether to permit their participation in the first place. Id. at ¶ 25. And the

       full discretion Cultural Care allegedly exercises in these areas goes beyond the

       explicit requirements of the relevant regulations.” Appellant’s Add. at 19 (District

                                                 50
Case: 21-1676    Document: 00117853883       Page: 57     Date Filed: 03/17/2022     Entry ID: 6483498




       Court citations to complaint in original). “And finally, Cultural Care retains

       discretion on what to instruct host families to pay au pairs, though it is limited at the

       lower end by required compliance with the FLSA.” Appellant’s Add. at 20.

             Cultural Care’s attempt to shoehorn Plaintiffs’ allegations into the regulations

       fails. For example, Cultural Care points to its regulatory obligation to report

       incidents of “unusual or serious situations” and “crime[s] of moral turpitude or

       violence.” Appellant’s Br. at 55 (citing 22 C.F.R. § 62.31). But an obligation to

       report certain incidents falls far short of full discretion to reject an application “for

       any reason it deems advisable” or to terminate “if the au pair engages in conduct that

       Cultural Care believes in not in the best interest of the program.” App. at 20, ¶¶ 25-

       26. Indeed, the regulations expressly provide that sponsor agencies “shall terminate”

       an au pair who “[v]iolates . . . the sponsor’s rules governing the program, if, in the

       sponsor’s opinion, termination is warranted.” 22 C.F.R. § 62.40 (emphasis added).

       It strains credulity to suggest that a sponsor agency creating its own rules and

       terminating participants for non-compliance with those rules would be merely

       carrying out its regulatory obligations.

                Thus, the District Court correctly recognized that “Cultural Care’s policies,

       as alleged by Plaintiffs, are clearly designed to enforce the government’s regulations,

       but they are also broader than is strictly required by the regulations.” Appellant’s

       Add. at 20. Plaintiffs’ allegations regarding Cultural Care’s extensive control over


                                                  51
Case: 21-1676     Document: 00117853883       Page: 58     Date Filed: 03/17/2022     Entry ID: 6483498




       childcare workers on J-1 au pair visas adequately allege an employment relationship.

             Cultural Care’s appeal brief also devotes seven pages to arguments regarding

       employer status that Cultural Care did not raise below. Cultural Care’s primary

       argument on appeal—which appears nowhere in the briefing below—is that

       Plaintiffs failed to allege facts sufficient to satisfy the economic reality test outlined

       in Baystate Alternative Staffing, Inc. v. Herman, 163 F.3d 668 (1st Cir. 1998).

       Appellant’s Br. at 49-54. The Court should not wade into the Baystate analysis

       because “arguments not raised in the district court cannot be raised for the first time

       on appeal.” Rockwood v. SKF USA Inc., 687 F.3d 1, 9 (1st Cir. 2012). Given Cultural

       Care’s spurious reliance on pendant appellate jurisdiction, it would be especially

       inappropriate for this court to address these arguments in the first instance.11

             Cultural Care also argues that the District Court misapplied Ivanov v. Sunset

       Pools Management, Inc., 567 F.Supp.2d 189, 195 (D.D.C. 2008). These arguments

       are also new on appeal, as Defendant provided no analysis of Ivanov below. App. at

       7, 11; Dkt Nos. 67, 133. Regardless, the district court’s analysis is correct. There is

       no suggestion in Ivanov that the sponsor agency retained full discretion to end a


             11
                Even so, Cultural Care’s challenges to the District Court’s analysis fails
       under Baystate. For example, Cultural Care argues that the District Court improperly
       focused on its relationship with host families. But Cultural Care’s alleged right to
       determine that a host family’s environment is not suitable, Appellant’s Add. at 19,
       is relevant to Cultural Care’s control over Plaintiffs’ “conditions of employment.”
       See Baystate, 163 F.3d at 675.

                                                  52
Case: 21-1676     Document: 00117853883     Page: 59     Date Filed: 03/17/2022     Entry ID: 6483498




       participant’s employment, as Plaintiffs allege here. See Ivanov, 567 F.Supp.2d 189.

       This right extends far beyond a sponsor agency’s purported right to terminate a

       participant for willfully failing to maintain required insurance. See Appellant’s Br.

       at 54 n.8 (citing 29 C.F.R. § 62.14 (h)-(j) regarding insurance). Ivanov—an out-of-

       circuit district court decision on a motion for summary judgment—is no basis to

       overturn the District Court’s denial of Cultural Care’s motion to dismiss.12

                                         CONCLUSION

             For all these reasons, Plaintiff respectfully requests that Cultural Care’s appeal

       be denied and this case remanded to the District Court for further proceedings.

                                               Respectfully Submitted,

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             12
                 Cultural Care also cites Knitter v. Corvias Mil. Living, LLC, an out-of-
       circuit case addressing a different statute (Title VII) and a different factual
       circumstance. 758 F.3d 1214 (10th Cir. 2014). Knitter is inapposite for these reasons,
       and is also inapplicable here because Cultural Care did not cite it below.

                                                 53
Case: 21-1676   Document: 00117853883   Page: 60   Date Filed: 03/17/2022     Entry ID: 6483498




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                                           54
Case: 21-1676   Document: 00117853883      Page: 61     Date Filed: 03/17/2022    Entry ID: 6483498




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             Pursuant to Federal Rule of Appellate Procedure 32(g), the undersigned

       counsel certified that this document complies as follows:

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       Date: March 14, 2022                   s/ David H. Seligman
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                                CERTIFICATE OF SERVICE

             I hereby certify that on March 14, 2022, I electronically filed the foregoing

       using the court’s CM/ECF system which will send notification of such filing to all

       Defendants-Appellees that have appeared:


       Date: March 14, 2022                   s/ David H. Seligman
                                              Attorney for Plaintiffs-Appellees




                                               55
Case: 21-1676   Document: 00117853883   Page: 62   Date Filed: 03/17/2022   Entry ID: 6483498




                  APPELLEES’ ADDENDUM
Case: 21-1676       Document: 00117853883                  Page: 63          Date Filed: 03/17/2022              Entry ID: 6483498




                                             APPELLEES’ ADDENDUM

                                                                                                                          Page
       Brief for the United States as Amicus Curiae Supporting Petitioners, Al
              Shimari v. CACI Premier Tech., Inc., No. 19-648 (U.S. Aug. 26,
              2020) (Excerpt) ................................................................................................ 1
       H.R. 2767, To Extend Au Pair Programs: Markup Before the Subcomm. on
             Int’l Operations and Human Rights of the Comm. on Int’l Relations
             H.R., 104 Cong. 5 (1995) .............................................................................. 14

       EF Education First, Company Fact Sheet 2016 ....................................................... 23
Case: 21-1676   Document: 00117853883   Page: 64       Date Filed: 03/17/2022      Entry ID: 6483498




                                         No. 19-648

                     In the Supreme Court of the United States
                        CACI PREMIER TECHNOLOGY, INC., PETITIONER
                                             v.
                          SUHAIL NAJIM ABDULLA AL SHIMARI, ET AL.


                             ON PETITION FOR A WRIT OF CERTIORARI
                            TO THE UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT



                       BRIEF FOR THE UNITED STATES AS AMICUS CURIAE


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                                                                             Appellees' Add.1
Case: 21-1676   Document: 00117853883      Page: 65    Date Filed: 03/17/2022    Entry ID: 6483498



                                    QUESTION PRESENTED
                        Whether the collateral-order doctrine permits im-
                     mediate appeal from the denial of a motion to dismiss
                     on the basis of the so-called “derivative sovereign im-
                     munity” defense.




                                               (I)




                                                                           Appellees' Add.2
Case: 21-1676   Document: 00117853883       Page: 66     Date Filed: 03/17/2022     Entry ID: 6483498




                                                 5

                     “that ‘fully developed rulings’ denying ‘sovereign im-
                     munity (or derivative claims thereof ) may not’ be imme-
                     diately appealable.” Pet. App. 4a (quoting 679 F.3d 205,
                     211 n.3). And the majority reasoned that, “even if a de-
                     nial of derivative sovereign immunity may be immedi-
                     ately appealable,” CACI cannot obtain interlocutory re-
                     view “because there remain continuing disputes of ma-
                     terial fact with respect to [its] derivative sovereign im-
                     munity defenses”—namely disputes as to “whether
                     CACI violated the law or its contract.” Id. at 4a-5a. The
                     majority therefore concluded that CACI’s appeal did
                     not “turn on an abstract question of law” and accord-
                     ingly was “not properly before” the court. Id. at 5a.
                        Judge Quattlebaum concurred in the judgment. Pet.
                     App. 6a-7a.
                                           DISCUSSION
                        The court of appeals correctly determined that it
                     lacked jurisdiction to hear CACI’s interlocutory appeal
                     in this case, though its reasoning was incorrect. Be-
                     cause the district court’s decision rested solely on a
                     pure, and erroneous, conclusion of law (that the United
                     States has waived its sovereign immunity from suits al-
                     leging violations of jus cogens norms), no disputed issue
                     of fact prevented the court of appeals from exercising
                     jurisdiction. Nevertheless, the court of appeals did lack
                     jurisdiction, because the so-called “derivative sovereign
                     immunity” doctrine CACI is asserting does not afford a
                     genuine immunity from suit, as distinct from a defense
                     to liability on the merits. Pre-trial orders rejecting an
                     assertion of the doctrine thus are not immediately ap-
                     pealable under the collateral-order doctrine.
                        Although the decision below reached the correct re-
                     sult, the question presented warrants this Court’s re-
                     view. There is tension in the lower courts’ approaches




                                                                              Appellees' Add.3
Case: 21-1676   Document: 00117853883       Page: 67      Date Filed: 03/17/2022      Entry ID: 6483498




                                                  6

                     to applying the collateral-order doctrine in the context
                     of orders denying federal contractor defenses like the
                     one at issue here, and the courts of appeals also are di-
                     vided about the nature of the “derivative sovereign im-
                     munity” doctrine. Rather than granting the petition for
                     a writ of certiorari immediately, however, the Court
                     should hold the petition pending its decisions in Nestlé
                     USA, Inc. v. Doe, cert. granted, No. 19-416 (July 2,
                     2020), and Cargill, Inc. v. Doe, cert. granted, No. 19-453
                     (July 2, 2020). Those decisions may effectively foreclose
                     respondents’ underlying substantive claims. If they do
                     not, the Court should grant the petition for a writ of cer-
                     tiorari and affirm.
                        A. The Court Of Appeals Correctly Determined That It
                           Lacked Jurisdiction Over Petitioner’s Interlocutory
                           Appeal
                        1. “Finality as a condition of review is an historic
                     characteristic of federal appellate procedure,” dating to
                     the first Judiciary Act, ch. 20, §§ 21-22, 25, 1 Stat. 83-87
                     (1789). Cobbledick v. United States, 309 U.S. 323, 324
                     (1940). The finality requirement is now codified in 28
                     U.S.C. 1291, which provides that the courts of appeals
                     “shall have jurisdiction of appeals from all final deci-
                     sions of the district courts of the United States, * * *
                     except where a direct review may be had in the Su-
                     preme Court.” Ibid. “A ‘final decision’ generally is one
                     which ends the litigation on the merits and leaves noth-
                     ing for the court to do but execute the judgment.” Cat-
                     lin v. United States, 324 U.S. 229, 233 (1945).
                        This Court has “long given” Section 1291 a “practical
                     rather than a technical construction.” Cohen v. Benefi-
                     cial Indus. Loan Corp., 337 U.S. 541, 546 (1949). It has
                     held that “the statute entitles a party to appeal * * *
                     from a narrow class of decisions that do not terminate




                                                                                Appellees' Add.4
Case: 21-1676   Document: 00117853883       Page: 68      Date Filed: 03/17/2022     Entry ID: 6483498




                                                 7

                     the litigation, but must, in the interest of achieving a
                     healthy legal system, nonetheless be treated as ‘final.’ ”
                     Digital Equip. Corp. v. Desktop Direct, Inc., 511 U.S.
                     863, 867 (1994) (citations and some internal quotation
                     marks omitted). That “small class” encompasses deci-
                     sions that “finally determine claims of right separable
                     from, and collateral to, rights asserted in the action.”
                     Cohen, 337 U.S. at 546.
                        The Court has applied a three-part test to determine
                     whether a “category” of orders is immediately appeala-
                     ble under the collateral-order doctrine. Mohawk In-
                     dus., Inc. v. Carpenter, 558 U.S. 100, 107 (2009) (citation
                     omitted); see Van Cauwenberghe v. Biard, 486 U.S. 517,
                     529 (1988) (“In fashioning a rule of appealability under
                     § 1291, * * * we look to categories of cases, not to par-
                     ticular injustices.”). To be immediately appealable, an
                     order that does not terminate the litigation must
                     “[1] conclusively determine the disputed question,
                     [2] resolve an important issue completely separate from
                     the merits of the action, and [3] be effectively unreview-
                     able on appeal from a final judgment.” Will v. Hallock,
                     546 U.S. 345, 349 (2006) (citations omitted; brackets in
                     original).
                        The Court has stressed that the collateral-order doc-
                     trine “must ‘never be allowed to swallow the general
                     rule that a party is entitled to a single appeal, to be de-
                     ferred until final judgment has been entered.’ ” Mo-
                     hawk Indus., 558 U.S. at 106 (quoting Digital Equip.,
                     511 U.S. at 868). Accordingly, the Court has recognized
                     only a small number of types of orders as immediately
                     appealable under the collateral-order doctrine. They
                     include, for example, orders denying absolute immun-
                     ity, Nixon v. Fitzgerald, 457 U.S. 731, 742 (1982); deny-




                                                                               Appellees' Add.5
Case: 21-1676   Document: 00117853883      Page: 69     Date Filed: 03/17/2022     Entry ID: 6483498




                                                8

                     ing Eleventh Amendment immunity, Puerto Rico Aque-
                     duct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S.
                     139, 144-147 (1993); and denying qualified immunity on
                     legal grounds, Mitchell v. Forsyth, 472 U.S. 511, 530
                     (1985); as well as, among others, orders rejecting a
                     double-jeopardy defense to retrial, Abney v. United
                     States, 431 U.S. 651, 656-662 (1977). In each such case,
                     the Court has emphasized, “ ‘the essence’ of the claimed
                     right” has been more than a defense against liability; it
                     has been “a right not to stand trial” in the first place.
                     Van Cauwenberghe, 486 U.S. at 524 (quoting Mitchell,
                     472 U.S. at 525).
                         2. Under the foregoing principles, the court of ap-
                     peals lacked jurisdiction to hear CACI’s interlocutory
                     appeal.
                         CACI claims that the court of appeals’ decision con-
                     flicts with this Court’s holdings “that orders denying
                     absolute immunity, qualified immunity, and Eleventh
                     Amendment immunity are all immediately appealable.”
                     Pet. 1-2. It asserts that, like those doctrines, the so-
                     called “derivative sovereign immunity” doctrine sup-
                     plies an “immunity from suit.” Id. at 11-12.
                         Despite often being referred to as derivative sover-
                     eign “immunity,” however, the doctrine that CACI in-
                     vokes is not genuinely an immunity at all; it is merely a
                     defense to liability. Orders rejecting a “derivative sov-
                     ereign immunity” defense, even on purely legal grounds,
                     therefore do not satisfy the effective-unreviewability
                     requirement of the collateral-order doctrine. And be-
                     cause the “derivative sovereign immunity” defense re-
                     quires that the government contractor have complied
                     with all relevant federal requirements, decisions ad-




                                                                             Appellees' Add.6
Case: 21-1676   Document: 00117853883           Page: 70         Date Filed: 03/17/2022         Entry ID: 6483498




                                                       9

                     dressing the defense at preliminary stages of a case of-
                     ten also will not satisfy the separateness and conclusive-
                     ness requirements of the collateral-order doctrine.
                        a. Federal contractors do not “share the Govern-
                     ment’s unqualified immunity from liability and litiga-
                     tion.” Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 672
                     (2016). As Justice Holmes put it nearly a century ago,
                     while the federal government generally “cannot be sued
                     for a tort, * * * its immunity does not extend to those
                     that acted in its name.” Sloan Shipyards Corp. v. U.S.
                     Shipping Bd. Emergency Fleet Corp., 258 U.S. 549, 568
                     (1922); see Brady v. Roosevelt S.S. Co., 317 U.S. 575, 583
                     (1943) (“Immunity from suit * * * cannot be * * * ob-
                     tained” through “a contract between [the defendant]
                     and the [government].”).
                        “Derivative sovereign immunity” is therefore a mis-
                     nomer. The defense known by that name is not a deriv-
                     ative form of the government’s own immunity, because
                     this Court has stated unambiguously that contractors
                     cannot assert a right to that immunity in U.S. courts. 1
                     Rather, the doctrine known as “derivative sovereign im-
                     munity” reflects the principle this Court articulated in
                     Yearsley v. W. A. Ross Construction Co., 309 U.S. 18
                     (1940): A contractor cannot be held liable for exercising
                     authority “validly conferred” by the government. Id. at
                     20-21. A contractor may be held liable, by contrast,
                     where it “exceeded [the] authority” conferred by the
                     government or where the authority “was not validly
                     conferred.” Id. at 21; see Campbell-Ewald, 136 S. Ct.
                     at 672 (“When a contractor violates both federal law and

                      1
                         The question of whether the government can argue that a con-
                     tractor should be sheltered by its sovereign immunity in an adjudi-
                     cation in a foreign or international court or tribunal pursuant to ap-
                     plicable foreign or international law is not presented in this case.




                                                                                          Appellees' Add.7
Case: 21-1676   Document: 00117853883            Page: 71         Date Filed: 03/17/2022          Entry ID: 6483498




                                                       10

                     the Government’s explicit instructions, * * * no ‘deriva-
                     tive immunity’ shields the contractor from suit by per-
                     sons adversely affected by the violation.”). 2
                        The doctrine discussed in Campbell-Ewald and
                     Yearsley accordingly resembles the common-law rule
                     that a principal may delegate to agents its “privilege” to
                     take certain actions that would be unlawful if committed
                     by others. See, e.g., Restatement (Second) of Agency
                     § 217 cmt. a, at 469 (1958) (“A privilege may result from
                     the consent of another” or “may be created by the law
                     irrespective of consent,” and “[m]ost of these privileges
                     are delegable.”); see also id. § 217 cmt. b, at 470 (“Im-
                     munities, unlike privileges, are not delegable and are
                     available as a defense only to persons who have them.”).
                     Thus, for example, a sheriff has “the privilege * * * to
                     arrest” and interrogate people whom he or she has
                     probable cause to believe have committed crimes, even
                     though such arrests and interrogations generally would
                     be unlawful if undertaken by a private party. Id. § 217
                     cmt. a, at 469. And “the sheriff can procure assistance
                     in” exercising that privilege from others, who then like-
                     wise act lawfully when they help to detain or interrogate
                     a criminal suspect. Ibid. But if the agent exceeds the
                     scope of the privilege delegated by the principal—or if
                     the principal never had the asserted privilege to begin
                     with—then the agent’s conduct may give rise to liabil-
                     ity. See id. § 343 cmt. c, at 105.

                      2
                         Some persons who perform services for the government may
                     also be entitled to qualified immunity for wrongs they commit while
                     performing those services, in circumstances where they are not al-
                     leged to have violated clearly established law. E.g., Filarsky v. De-
                     lia, 566 U.S. 377, 393-394 (2012). The petition for a writ of certiorari
                     in this case, however, does not contend that petitioner is entitled to
                     qualified immunity.




                                                                                            Appellees' Add.8
Case: 21-1676   Document: 00117853883       Page: 72     Date Filed: 03/17/2022     Entry ID: 6483498




                                                11

                         This understanding of “derivative sovereign immun-
                     ity” sharply distinguishes it from actual immunities, in-
                     cluding the federal government’s sovereign immunity.
                     The critical feature of “an immunity” is that it “frees
                     one who enjoys it from a lawsuit whether or not he acted
                     wrongly.” Richardson v. McKnight, 521 U.S. 399, 403
                     (1997). Where the government has not waived it, for ex-
                     ample, sovereign immunity serves as “an impregnable
                     legal citadel where government * * * may operate un-
                     disturbed by the demands of litigants.” United States
                     v. Shaw, 309 U.S. 495, 501 (1940). Similarly, “the es-
                     sence of absolute immunity is its possessor’s entitle-
                     ment not to have to answer for his conduct in a civil
                     damages action.” Mitchell, 472 U.S. at 525. And under
                     the doctrine of qualified immunity, even where “the
                     plaintiff ’s claim * * * in fact has merit,” a government
                     official is entitled to have the suit dismissed unless the
                     official’s unlawful conduct violated a “ ‘clearly estab-
                     lished’ ” right. Camreta v. Greene, 563 U.S. 692, 705
                     (2011) (citation omitted). By contrast, when a govern-
                     ment contractor acting as an agent of the government
                     exercises a validly delegated privilege, the contractor is
                     not immune from suit for unlawful conduct; rather, the
                     contractor is protected from liability only to the
                     extent—and only because—it is acting lawfully. See
                     Campbell-Ewald, 136 S. Ct. at 672 (holding that “[w]hen
                     a contractor violates both federal law and the Govern-
                     ment’s explicit instructions * * * , no ‘derivative im-
                     munity’ shields the contractor from suit”).
                         b. Because “derivative sovereign immunity” is
                     properly understood as a defense to liability on the
                     ground that the defendant acted lawfully, rather than
                     as a broader immunity from suit, pre-trial orders reject-
                     ing claims of so-called derivative sovereign immunity




                                                                              Appellees' Add.9
Case: 21-1676   Document: 00117853883       Page: 73      Date Filed: 03/17/2022     Entry ID: 6483498




                                                 12

                     are not “effectively unreviewable on appeal from a final
                     judgment.” Will, 546 U.S. at 349 (citation omitted).
                        In assessing whether a threshold ruling would be ef-
                     fectively unreviewable without an interlocutory appeal,
                     this Court has explained that “the decisive considera-
                     tion is whether delaying review until the entry of final
                     judgment ‘would imperil a substantial public interest’ or
                     ‘some particular value of a high order.’ ” Mohawk In-
                     dus., 558 U.S. at 107 (quoting Will, 546 U.S. at 352-353).
                     For example, the “ultimate justification” for “applica-
                     tion of the collateral order doctrine” to orders rejecting
                     Eleventh Amendment immunity is the need to avoid
                     wrongfully “ ‘subjecting a State to the coercive process of
                     judicial tribunals at the instance of private parties’ ”—a
                     “dignitary interest[] ” that cannot “be fully vindicated”
                     on appeal if the trial has already occurred. Puerto Rico
                     Aqueduct & Sewer Auth., 506 U.S. at 146 (quoting In re
                     Ayers, 123 U.S. 443, 505 (1887)).
                        Orders denying government contractors’ assertions
                     of “derivative sovereign immunity” in U.S. courts do
                     not, as a category, implicate that sort of substantial, ef-
                     fectively irreparable interest. See Van Cauwenberghe,
                     486 U.S. at 529 (observing that the collateral-order doc-
                     trine “look[s] to categories of cases, not to particular in-
                     justices”). Even if an erroneous denial leads to an un-
                     warranted award of damages against a government con-
                     tractor, that award—like any “erroneous ruling on
                     liability”—“may be reviewed effectively on appeal from
                     final judgment.” Swint v. Chambers Cnty. Comm’n, 514
                     U.S. 35, 43 (1995). To be sure, requiring government
                     contractors to wait until final judgment to appeal may
                     force those contractors to incur “unnecessary trouble
                     and expense” litigating a case that should have been dis-
                     missed. Lauro Lines s.r.l. v. Chasser, 490 U.S. 495, 499




                                                                              Appellees' Add.10
Case: 21-1676   Document: 00117853883           Page: 74       Date Filed: 03/17/2022        Entry ID: 6483498




                                                     13

                     (1989). This Court, however, has “declined to find the
                     costs associated with unnecessary litigation to be
                     enough to warrant allowing the immediate appeal of a
                     pretrial order.” Ibid.
                         CACI argues that the interests “that justify immedi-
                     ate appeals of denials of absolute and qualified
                     immunity—‘distraction of officials from their govern-
                     mental duties, inhibition of discretionary action, and de-
                     terrence of able people from public service’—are of
                     equally high value in the context of government con-
                     tractors.” Reply Br. 10 (citation omitted). Any con-
                     cerns about government contractors being unwilling to
                     do business with the government, however, are miti-
                     gated by the potential ability of government contractors
                     to price litigation risks into their contracts. Cf. Rich-
                     ardson, 521 U.S. at 409 (“[T]he most important special
                     government immunity-producing concern—unwarranted
                     timidity—is less likely present, or at least is not special,
                     when a private company subject to competitive market
                     pressures operates a prison.”). Nor do suits in U.S.
                     courts against government contractors implicate the
                     “dignitary interests” that arise when a sovereign gov-
                     ernment is “ ‘subject[ed] * * * to the coercive process
                     of judicial tribunals at the instance of private parties.’ ”
                     Puerto Rico Aqueduct & Sewer Auth., 506 U.S. at 146
                     (quoting In re Ayers, 123 U.S. at 505). Accordingly,
                     suits against government contractors do not, as a class,
                     present the same level or type of concern that this Court
                     has previously identified as sufficient to warrant imme-
                     diate appeal under the collateral-order doctrine. 3


                      3
                        Because government contractors lack sovereign dignitary inter-
                     ests, and because the government’s own immunity from suit in U.S.
                     courts is not delegated to government contractors, see pp. 9-11, su-




                                                                                      Appellees' Add.11
Case: 21-1676   Document: 00117853883          Page: 75       Date Filed: 03/17/2022       Entry ID: 6483498




                                                    14

                        c. Orders rejecting a Yearsley-based defense also
                     generally do not “resolve an important issue completely
                     separate from the merits of the action,” Will, 546 U.S.
                     at 349 (citation omitted). To the contrary, the question
                     whether a defendant is entitled to “derivative sovereign
                     immunity” is often coterminous with the merits of the
                     action. That is because such a defense applies only
                     where and to the extent that the defendant acted
                     lawfully—not, as with the sorts of true immunities dis-
                     cussed above, even where the defendant acted unlaw-
                     fully. See pp. 9-11, supra.
                        CACI’s assertion of the defense here illustrates the
                     point. CACI could not demonstrate entitlement to the
                     defense without proving that it acted within the scope
                     of a lawful delegation from the government. Campbell-
                     Ewald, 136 S. Ct. at 672. But respondents’ claims them-
                     selves rest on the premise that CACI “violate[d] both
                     federal law and the Government’s explicit instructions.”
                     Ibid.; see, e.g., D. Ct. Doc. 254, at 41 (Apr. 4, 2013) (al-
                     leging that CACI “directly contradicted” domestic law
                     as well as the “express terms” of its contract with the
                     United States). Thus, if respondents were to prove the
                     merits of their liability claims, then CACI would not be
                     entitled to “derivative sovereign immunity”—and if
                     CACI were to show its defense was valid, then respond-
                     ents would necessarily fail to prove the merits.
                        d. Finally, in some cases, orders rejecting pre-trial
                     assertions of the defense will not “conclusively deter-
                     mine the disputed question.” Will, 546 U.S. at 349 (ci-
                     tation omitted). In particular, where such an order is

                     pra, this case would not be an appropriate vehicle in which to ad-
                     dress whether the federal government has a right to immediately
                     appeal orders denying motions to dismiss on the ground of federal
                     sovereign immunity. See Pet. 15-17.




                                                                                    Appellees' Add.12
Case: 21-1676   Document: 00117853883       Page: 76      Date Filed: 03/17/2022    Entry ID: 6483498




                                                 15

                     based on the existence of factual disputes that are ma-
                     terial to the “derivative sovereign immunity” defense,
                     the order will generally just defer final resolution of the
                     defense until trial.
                        To be sure, the order here did not come within the
                     category of orders that defer resolution of a “derivative
                     sovereign immunity” defense until disputed facts have
                     been determined at trial. Instead, the district court
                     rested its denial of that defense on its purely legal de-
                     termination that the United States had impliedly
                     waived its sovereign immunity to suit for alleged viola-
                     tions of jus cogens norms. See pp. 3-4, supra; Pet.
                     App. 340a. That determination was clearly wrong, but
                     there is no reason to think it was—for the district
                     court’s purposes—anything other than “conclusive[].”
                     Will, 546 U.S. at 349. There were no disputed facts
                     that were materially relevant to the court’s sovereign-
                     immunity decision and that could be informed by an
                     eventual trial; instead, the decision reflected the court’s
                     incorrect view that the United States can “impliedly
                     waive[]” its sovereign immunity through conduct such
                     as “joining the community of nations.” Pet. App. 317a;
                     but see, e.g., United States v. Mitchell, 445 U.S. 535, 538
                     (1980) (“A waiver of sovereign immunity ‘cannot be im-
                     plied but must be unequivocally expressed.’ ”) (citation
                     omitted). Accordingly, if orders denying the pre-trial
                     assertion of a “derivative sovereign immunity” defense
                     satisfied the other two requirements of the collateral-
                     order doctrine, the order here likely would have been
                     immediately appealable. But because such orders,
                     viewed as a category, are not effectively unreviewable
                     on appeal after final judgment and do not address an
                     issue completely separate from the merits, see pp. 11-
                     14, supra, the court of appeals correctly determined




                                                                             Appellees' Add.13
e: 21-1676    Document: 00117853883                    Page: 77           Date Filed: 03/17/2022           Entry ID: 6483

                 H.R. 2767, TO EXTEND AU PAIR
                           PROGRAMS



                                              MARKUP
                                                   BEFORE 11E

                      SUBCOMMITTEE ON
         INTERNATIONAL OPERATIONS AND HUMAN RIGHTS
                                                      -OF THE


                            COMMITTEE ON
                      INTERNATIONAL RELATIONS
                     HOUSE OF REPRESENTATIVES
                          ONE HUNDRED FOURTH CONGRESS-
                                                FIRST SESSION



                                             DECEMBER 14, 1995


                 Printed for the use of the Committee on International Relations




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                                                                                       Appellees' Add.14
e: 21-1676   Document: 00117853883            Page: 78       Date Filed: 03/17/2022      Entry ID: 6483




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                                                                        Appellees' Add.15
e: 21-1676   Document: 00117853883            Page: 79       Date Filed: 03/17/2022         Entry ID: 6483




                                          CONTENTS

                                             APPENDIX
         H.R. 2767, to extend au pair programs          .................................   3
         Statement submitted for the record by the Honorable Tom Lantos................     5




                                                 (II)




                                                                        Appellees' Add.16
e: 21-1676    Document: 00117853883      Page: 80     Date Filed: 03/17/2022     Entry ID: 6483




               MARKUP OF H.R. 2767, TO EXTEND AU PAIR
                            PROGRAMS

                              THURSDAY, DECEMBER 14, 1995
                                  -   HOUSE OF REPRESENTATIVES,
                        COMMITTEE ON INTERNATIONAL RELATIONS,
              SUBCOMMITTEE ON INTERNATIONAL OPERATIONS AND HUMAN
                                                           RIGHTS,
                                                               Washington, DC.
               The subcommittee met,    pursuant  to  call, at 2:08 p.m., in room
             2172,  Rayburn   House  Office Building,   Hon.   Christopher  Smith
             (chairman of the subcommittee)  presiding.
               Mr. SMITH. The subcommittee will come to order.
               We are taking up legislation relating to USIA's au pair program.
               Pursuant to notice, the Chair will lay the bill before the sub-
             committee and the clerk will designate the title of the bill.
               The CLERK. H.R. 2767, a bill to extend the United States Infor-
             mation Agency au pair program.
               Mr. SMITH. The clerk will read the bill for amendment.
               The CLERK. A bill to extend the au pair program-
                Mr. SMITH. Without objection the bill is considered as having
             been read and is open for amendment at any point.
                [The information appears in the Appendix.]
                Mr. SMITH. I will make a few comments and then yield to the
             distinguished chairman of the full committee, Mr. Ben Gilman, for
             any comments he might have and to any other members of the sub-
             committee.
               -As members know, the USIA au pair program has been an effec-
             tive means of giving young people from overseas an educational
             year in the United States and also providing hard-working Amer-
             ican families with many hours per week of high-quality chid care.
                The program operates without cost to taxpayers because the ex-
             penses of the au pair are covered by the host families.
                The bill before us will extend this program for another 2 years.
             It will also open it up to participants from all over the world and
             will expand the range of agencies that can work with USIA to
             bring au pairs to the United States.
                By enacting this authorization which has been introduced by Mr.
             Gilman as a freestanding bill, we can bring relief to families that
             were counting on the arrival of au pairs in their homes only to find
             that delayed by the refusal of the Senate to enact either a foreign
             operations bill or a foreign aid authorization bill, both of which car-
             ried riders reauthorizing the au pair program.
                This bill reached us on an expedited schedule, but it should be
             uncontroversial.




                                                             Appellees' Add.17
e: 21-1676    Document: 00117853883     Page: 81    Date Filed: 03/17/2022     Entry ID: 6483



           I also want to note for the record that the very tireless work of
        Mr. Baker, Mr. Davis and Mr. Wolf have kept us on this committee
        very vigilant in trying to make sure that this legislation is enacted.
           I would like to yield to Mr. Gilman.
           Mr. GILMAN. Thank you, Mr. Chairman.
           I want to thank Chairman Smith for moving this bill expedi-
        tiously. It does extend the authorization for 2 years. The Senate
        passed the measure last evening. I think that the Senate extended
        it for a 4-year period rather than 2 years. We understand the USIA
        supports a 4-year extension.
           They believe a longer p riod is essential to effectively evaluate
        compliance of the au pair organizations with the new program reg-
        ulations. I think it is a sound program and I urge our colleagues
        to support the measure.
           Thank you.
           Mr. SMITH. Thank you.
           Without objection, Mr. Lantos' statement will be made a part of
        the record.
           [The prepared statement of Mr. Lantos appears in the appendix.]
           Mr. SMITH. Are there any amendments?
           If there are no amendments and no further discussion, the Chair
        will be in receipt of a motion.
             Mr. GILMAN. Mr. Chairman, I am pleased to move the sub-
        committee order the bill H.R. 2767, reported to the Committee on
        International Relations, with a recommendation that the bill do
        pass.
             Mr. SMITH. The question is on the motion.
             All those in favor say aye.
             Opposed, no.
             The ayes appear to have it.
             The bill is passed and the motion is agreed to.
             The hearing is adjourned.
             [Whereupon, at 2:10 p.m., the subcommittee was adjourned.]




                                                           Appellees' Add.18
e: 21-1676         Document: 00117853883                    Page: 82        Date Filed: 03/17/2022         Entry ID: 6483




                                   APPENDIX

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                      104TH CONGRESS
                           lSES6o              H. Re2767


                               IN THE HOUSE OF REPRESENTATIVES
                                                         Mr. Smith, Mrs. Morella, Mr. Davis,
                                                          Mr.Baker(CA),       Mr. Moran, & Mr. Wolf.
                       Mr. GrLMA" (for himself) 1tl Mr. HAMILTO.\trodueed the following bill;
                                                               AtoducdthMowngW
                      which was referred to the Committee on




                                                A BILL
                                          To extend au pair programs.

                       I           Be it enacted by the Senate and House of Representa-
                      2 ties of the United States of America in Congress assembled,
                      3    SECTION 1. EXTENSION OF AU PAIR PROGRAMS.

                      4            (a) REPEAL.--Section 8 of the Eisenhower Exchange
                      5 Fellowship Act of 1990 (Public Law 101-454) is repealed.
                      6            (b) AUTHORITY FOR Au PAIR PROGRAMs.-The Di-
                      7 rector of the United States Information Agency is author-
                      8 ized to continue to administer an au pair program, operat-
                      9 ing on a world-wide basis, through fiscal year 1997.




     December 12,1995 (3:53 pm.)




                                                                                           Appellees' Add.19
e: 21-1676   Document: 00117853883                      Page: 83      Date Filed: 03/17/2022         Entry ID: 648




                   F: M4 GILNLANGILMAN,107                                                   IILC.



                                                   (c) REPORT.-Not later than October 1, 1996, the

                                    2 Director of the United States Information Agency shall

                                    3 submit a report regarding the continued extension of au

                                    4 pair programs to the Committee on Foreign Relations of

                                    5 the Senate and the Committee on International Relations

                                    6 of the House of Representatives. This report shall specifi-

                                    7 cally detail the compliance of all au pair organizations

                                    8 with regulations governing au pair programs as published

                                    9 on February 15, 1995.




                   December 12. 1995 (3,53 p.m.)




                                                                                Appellees' Add.20
                                                                          -   -.            .'~- -   -   -
          -~-             ~


e: 21-1676      Document: 00117853883              Page: 84        Date Filed: 03/17/2022                    Entry ID: 6483


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                                     Statement of
                               Congressman Tom Lantos
    Markup of H.R. 2767 - A Bill to Extend the Au Pair Program
             Subcommittee on International Operations and Human Rights
                        Committee on International Relations
                                 December 13, 1995


         Mr. Chairman, first of all, I want to recognize the leadership which you
   have shown on the question of resolving the future of the Au Pair Program. I also
   want to acknowledge our full committee Chairman, Congressman Ben Gilman, and
   our the Ranking Democratic Member of the Committee, Congressman Lee
   Hamilton, who have also played a critical role in dealing with this issue.


         The Au Pair Program has been in a state of uncertainty for a number of
   years, and it has been extended temporarily several times. Because authorization
   for the operation of this program expired on September 30 of this year and the
   legislation which we have adopted to extend it has not yet passed both houses of
   the Congress, it is important that we act to resolve, at least temporarily again, this
   uncertainty for a specified period of time.


         Our legislation today simply extends the program for another two years -
   until September 30, 1997 - without resolving the question of its ultimate fate or
   ultimate future structure and existence. The legislation, however, does require a
   report from USIA, which should provide a basis for us to take more permanent
   action in two years.


         I welcome the improvements that are made in this legislation.             In the past
   the Au Pair program has been limited to young people from European countries.
   This legislation broadens the program to include other countries in Asia, Africa,
   and Latin America. Thi expansion will create additional problems for those who




                                                                                   Appellees' Add.21
: 21-1676   Document: 00117853883           Page: 85        Date Filed: 03/17/2022            Entry ID: 648




                                                     -2-
              administer the program, but the extension of the program to all countries is a
              positive step, and I welcome it.


                    Mr. Chairman, I strongly support international educational exchange
              programs, including this one for Au Pairs. As the founder of the California State
              Universities' Study Abroad program, I have long supported and encouraged efforts
              to have young women and men travel and learn about other countries, other
              languages, and other cultures.     The Au Pair program provides an important
              opportunity for young people to experience American culture first-hand. These are
              young people who generally come from families which do not have the resources
              to permit them to travel independently or to study at an American university.    It
              is important that they have this personal experience of our country.


                    It is extremely important, however, that the USIA and those who administer
              this program understand that this is an educational program -    its purpose is to
             give young people experience with our country and its culture.          Families who
             provide a home and food for foreign young people while they are here reasonably
             expect some assistance with household tasks.         But this is not a program to
             circumvent our nation's labor and immigration laws relating to employment in the
             United States by foreign citizens. This is not a program to provide free child-care
             for upper-middle class Americans. It is not a program to get around our nation's
             labor laws. Those laws have been written for specific purposes, and the Au Pair
             Program must be consistent with our labor laws. It is extremely important that the
             international educational exchange component of this program be recognized and
             acknowledged as being central to this legislation.


                    Mr. Chairman, I urge my colleagues to support this legislation.




                                                                      Appellees' Add.22
Case: 21-1676          Document: 00117853883                      Page: 86            Date Filed: 03/17/2022                   Entry ID: 6483498




   Company Fact Sheet 2016

   About EF
   EF Education First is an international education company focusing on language, academics, and
   cultural experience. With a mission to open the world through education, EF was founded in 1965.
   In the following section, you will find descriptions of EF’s different businesses.



   Facts at a glance

         Company Name       EF Education First (abbreviated to EF)
                Founded     1965 in Lund, Sweden
                   Owner    Privately held by EF’s founder Bertil Hult and family
           Headquarters     Lucerne, Switzerland
     Schools and Offices    500 in 53 countries
         Global presence    112 countries
              Employees     43,500 (19,500 office staff, 6,000 full time faculty, 18,000 part time teachers)




   Company Overview
   Divisions and Business Units                                              Affiliated Organizations
   EF Education First is organized in three divisions:                       EF is also affiliated with an independent, not-for-profit business
   EF Language and Schools, EF Cultural Exchange,                            school, Hult International Business School, and an independent
   and EF Educational Travel. Each division has several                      not-for-profit exchange program, EF Foundation, as well as an
   different businesses.                                                     insurance company, Erika Insurance.


       EF Language and Schools                                                   Hult International Business School
       - EF Learning Labs                                                        - Undergraduate Programs
       - EF English Live                                                         - Graduate Programs
       - EF Local English Language Centers                                       - Ashridge Executive Education
       - EF Local English Language Centers for Kids
       - EF International Language Centers
                                                                                 Erika Insurance​
       - EF Corporate Solutions
       - EF Academy—International Boarding Schools                               Travel Insurance


       EF Cultural Exchange
       - EF High School Exchange Year
       - Cultural Care Au Pair


       EF Educational Travel
       - EF Explore America
       - EF Educational Tours
       - EF College Study Tours
       - EF College Break
       - EF Go Ahead Tours




                                                                                                                Appellees' Add.23
